                           CAUSE     NO.    12764

THE   STATE   OF   TEXAS                    IN    THE   DISTRICT           COURT   OF


VS.                                         TITUS       COUNTY         TEXAS


BILLY   JOE WARDLOW                         76TH    JUDICIAL            DISTRICT




                           STATEMENT       OF FACTS


                       VOIR    DIRE    EXAMINATION


                            October    26        1994


                      VOLUME    13    of   43    volumes




                                                   FILED     I   N
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                                                  OCT 111995


                                            Troy C. Bennett      Jr.   Clerk
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        22                                              FILED          IN
                                                 COURT OF   CRIIMINA    APPEALS

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              LLOYD    E.    BILLUPS   CSR.     149
                 ORicL         COURF   RWCRM
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                      Mt.    REAS   W. TOM
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      THE   STATE   OF TEXAS                                       IN           THE    DISTRICT     COURT    OF

3     VS.                                                          TITUS               COUNTY     TEXAS

4     BILLY   JOE   WARDLOW                                         76TH              JUDICIAL    DISTRICT

 5




 6
                                   STATEMENT                 OF          FACTS

 7                                VOIR   DIRE            EXAMINATION


8                                  ..Octobe                26               1994


 9                            VOLUME       13           of       43             volumes

10




11                   Before Honorable                        Gary                R.    Stephens

12
                          Judge.by        Judicial                     Assignment

13              Venue       changed       from Morris                             County        Texas

14




15                                        APPEARANCES

16



17    ATTORNEYS     FOR     THE    STATE         OF TEXAS

18                  MR.     RICHARD       TOWNSEND
                    District Attorney
19.                 .Morri County Texas
                    MorrisCountyCourthouse
20                  Daingerfield Texas 75638

21                            --and


22                  MR. RANDY         LEE
                    Assistant         District                    Attorney
23                   Cass    County Texas
                     P.O.    Box 940
24                   Linden        Texas         75563


25




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                                                 MT.    RFAW      T.1DCAS
              ATTORNEYS          THE    DEFENDANT
        1
                          FOR.


        2
                          MR.    BIRD    OLD     III
                          Old Rolston              Old
        3
                          PO. Box 448
                          Mt.    Pleasant        Texas                   75456-0448
        4


                                       and
        5


                          MR. LANCE HINSON
        6                 Law Offices of Danny Woodson
                          P.O. Box 399
         7                Mt. Pleasant   Texas 75456-0399


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                                               LLOYD    E.    BILLUPS     CSR.      149   2
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                                                       W. RFNSW.TCW
1                                     On    the     26th               day            of    October         .199          the.



2        above-entitled              and    numbered                  cause            came        on    for       hearing


3        before    said        Honorable       Court                    Judge              Gary    R.    Stephens             of


4        Midlothian        Texas           serving          by judicial assignment                                   in the


         District Court of Titus County Texas                                                on change             of venue
5




6
         from Morris County Texas                           and the                    following proceedings


    7
         were    had

                                                                 THE          COURT               Bring     the       first
    8



         juror    in.
    9


                                                                 THE          BAILIFF              Watch       your.step
10


         here.
11



                                                                 THE           COURT               Right       up     here
12


         maam.
13




14




15
                    LORI        BETH       HENRY      Potential                            Juror    372

16
         was     called         as     a    Potential                         Juror          and         having           been


         previously        sworn       by    the    Court                      testified            as     follows
    17




    18




    19
                                                                 THE            COURT              Maam             for   -   th.e.



         record         are you       Lori Henry
    20


                                                                 THE           POTENTIAL              JUROR          Yes.
    21




    22
                                                                 THE           COURT              L     0 R.I


                                                                 THE           POTENTIAL              JUROR          Yes.
    23



    24
                                                                 THE           COURT           Maam            I    am Gary


         Stephens          I     am    presiding                      over             this        trial       and        jury
    25




                                                                                                                                   3
                                                  LLOYD E. BILLUPS CSR 149


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                                                      76TH AMC K asra a

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                                                                                                                                       Y   1




          selection.
     1




     2
                                              We      have             one                   lawyer          present         here

     3
          representing              the       State       of     Texas                  and        thats the             District

     4
          Attorney           from Morris County                            Mr.               Richard         Townsend.

     5
                                              We    have       two         Defense                    Attorneys          present.

     6
          we    have Mr.          Bird        Old      III.


     7
                                                                     MR.             OLD              Hello.
                  0




     8                                                               THE            COURT               Lance      Hinson        Mr.


      9   Lance       Hinson.


rj   10                                                              MR.             HINSON                 Good    morning..


     11                                                              THE COURT                         Next to Mr. Hinson


     12   the    Defendant               Mr.       Billy       Wardlow.


     13                                       Now      Ms.           Henry                   the       lawyers       have    read


     14   your        questionnaire                  they      are            familiar with                       your    answers


     15   and they           are    going to talk                    about                   some      of    those       answers

     16   they are going                 to    discuss          the           principles                    of    law involved


     17   in a death           penalty              case.


     18                                       Now maam                     the lawyers                      are going to ask


     19   a lot       of     questions              the     answers will                              let   us    know    whether


     20   or not to put you                    on     the       jury.


     21                                       In     order           to            be        a     qualified         juror       you

     22   must be          able     to    understand.and                            follow the               law you dont

     23   even        have     to       agree        with      the            law                if    you       disagree       with


     24   some        aspect       of    law        but you           can              still           follow      the    law    you


     25   are qualified but                    if    you disagree                            with      some aspect          of   our




                                                       LLOYD    E.   BILLUPS       CSR.      149                                       4
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                                                               MT.   REASM    T.   TOCAS
         law    to    the    extent       you       cant             follow                it     then       you        are       not

    2
         qualified.

    3
                                        We     have              also               found             over        the        years

    4
         picking       jurors         on this type                of case              that even though                          most

    5
         jurors        are        qualified              that               doesnt                    mean         they           are

    6
         appropriate             jurors       for    a      death             penalty                 case        so    we       need

     7   to    know    something         about        what           your opinions                          are what you

    8    think       about       our   laws.


     9                                  The     only              way          to      find            out        is        to    ask


    10   questions.              It    may    seem        like             you         are        on       trial        but       you

    11   are    not.


    12                                  Frankly             there               are         no         right.          or     wrong

    13   answers or right or wrong opinions                                            frankly we                 dont care

    14   what    the    opinions          are       and      I      dont mean                         to    be rude           about.


    15   this    but        we    very        much       care              to         understand                  what        those


    16   opinions       are       so    we    want        you          to           just         open        up    and           share


    17   them with us without                  caring              whether                 we     agree       or disagree


    18   with    you.


    19                                   If   -you    have            any question                         you stop us and

    20   ask    us    your questions.


    21                                   If    you are              selected                    as.   a juror we                 cant

    22   talk to you after today                      so anything                      that is               not clear you


    23   need.to       get       cleared       up     today.


a   24                                   We     also             wont                 be        able         to        tell        you


    25   whether       you       are    on    the     jury           today                 we     are going                 to talk




                                                    LLOYD   E.   BILLUPS    CSR 149                                                     5
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                                                            M.   RFASANr.1DNS
     to several            jurors make                    decision on those and then talk
1
                                                      a


2
     to    some      more        so    it     will        probably                      be        toward       the     end    of


3
     next week.

4                                       Mr.      Townsend-                     you       may        proceed.

5                                                                   MR.       TOWNSEND                   Thank   you Your

6    Honor.


7




8                                       VOIR         DIRE           EXAMINATION


9                                             BY MR.                TOWNSEND


10




11   Q                     Ms.    Henry          I    am Richard                        Townsend           .     represent


12
     the    State          of    Texas      in this                 case          and         I    want    to emphasize


13
     to    you       the    Judge       has      already                told you                   that    there       are       no


14   right or wrong                   answers             just          tell            us        what    you    think.


15   A                     Yes.


16   Q                     We     are       seeking                  actively                     seeking        the       death


17   penalty          in this          case.


18
                                        I     have         read               your        questionnaire                    and    I



1s
     kind       of   have        an   idea.how            you. feel                   about        the death           penalty


     and    I    want       to    talk      to       you a little                        more about              the    law      in
20


     Texas       and       how the-death              penalty takes place and that                                           sort
21



     of    thing.
22



23
                                        Your         feelings about                               the    death       penalty


24   are    those           pretty          much          the          feelings                   you     have       had     ever


25
      since       you       were       an     adult           or       is         this            something          that     you




                                                     LLOYD     E.   BILLUPS    CSR.     149
                                                                                                                                 .
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                                                              ha.   RFASAW.    TDW
    I.


             I



/   I

         1
             I




                 1
                       have     changed            over         the       last             few           years       or         is.    it            just


                 2
                       something             you   havent            thought                about

                 3     A                     Are you        referring to                        something              I     wrote

                 4     Q                     Your answer             on    the           questionnaire.

                 5     A                     Okay.        May    I    see            that           again

                 6



                 7                                          Handed         to          the          potential              juror.

                 8




                  g                                                                  THE        POTENTIAL              JUROR                    Pretty


                 10    much.         Yeah.         Yes.


                 11
                                                                                     MR.        TOWNSEND.                  Okay.                Do    you


                 12
                       know     of    any      reason          why     you couldnt                             serve       on     a    jury           and


                 13
                       return        a       verdict        that      resulted                      in       the   death          penalty              of


                              .individua                                  evidence                           and    the          facts               were




                 dont-17
                 14    an                              if       the


                 15    appropriate


                 16                                                                    THE      POTENTIAL              JUROR                I



                       see    why        I    couldnt           return           the            verdict.


                 18    Q.                     BY   MR..        TOWNSEND                  Let me talk                   to.      you    a.       little


                 19    bit    about          murder .i          Texas                and        there are              two.      basic           types


                 20    of     murder           one        is    just       a           plain             non-capital                  murder           in


                 21
                       which-    a   person          intentionally or knowingly murders another..


                 22    individual              or causes          the      death                of       another           individual                 and


                 23    that     is       to    say    that       they         have              done          it   without            any        legal


                  24    justification                or     excuse         which                    you know               it    wasnt               self


                  25   defense           and-it       wasnt           an        accident                     or    something                of       that




                                                                                                                                                            7
                                                                      LLOYD     E.   BILLUPS    CSR 149
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                                                                              76TH.A   DICU1L   D   CT

                                                                               MT.   PJAVwr.mtns
      1
               nature          that    intentionally                caused                 this      persons           death.


      2
               The     range           of     punishment                   in        that          is      up     to            life


      3
               imprisonment              but       they     could                   not          receive        the         death


      4
               penalty.


      5                                           On the other hand there is what we call

      6
               capital           murder           and   this      case              is     about     capital          murder.


      7                                           Capital      murder is murder plus something


      8        else       its         that    plain murder we                       talked         about    plus           it    has


      9        to    have       another       element.


      10       A                  Yes.


      11       Q                  And that          other element                        is   that      this murder has


      12       to    be   of     apolice           officer               fireman              in   the   line of            duty

      13
               has to be          a   murder for hire a murder that is done                                                during


      14       the    commission              of   a    robbery                burglary              rape        so   you        can


               see aside          from murder you have                          got        to have something                    else
      15




      16       that       we    talked        about.


      17       A                  Yes.


      18       Q                  There is a sheet                  of paper up there.that                             I    would


           9
               like       fr      you        to    look   at             its          the        indictment            in       this


      20       case.


                                                                         THE        COURT          To your left                 right
      21




      22
                there.           Indicating

                                                                         MR.         TOWNSEND               If        you        will
          23



                just read that               over to yourself                            just the top           half there.
          24
-.j




          25       Indicating



                                                                                                                                        8
                                                          LLOYD     E.   BILLUPS.   CSR.   149

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                                                                   W.    RFAwlf.    TDM
1




     we-6
    1
                                          0                         THE             POTENTIAL               JUROR             Okay.

    2
          Q                 BY     MR.    TOWNSEND                       Then              well talk about                         it.


    3     A                 Okay.


    4     Q                 Can you           see based                 on          what         you       have        read there

     5    that if       the   State       could           prove            that             that would                 be    what


          just    discussed          as       a     capital               murder                 rather           than           just     a


     7    regular       murder

     8    A                 Yes.


     9    Q                 The    kind        of    jurors we                        need        in a           death       penalty


    10    case        Ms.   Henry         are       those               kind           of        jurors who                 can    keep


    11    an   open     mind throughout                   the           trial                first.as                 to    guilt        or


    12    innocence.


    13    A                 Yes.


    14    Q                 And      then         later             on          when             you        get         into       this


    15    punishment          phase       of        the     trial                   keep         an        open        mind       as     to


    16    whether       the      proper        punishment                       should be                  a     life       sentence


    17    or    the    death      penalty.


    18    A                 Yes.


    .1    Q                 Some     people           think                     you         know            if     a       person        is


    20    convicted         of     capital          murder               they              automatically                     get       the


    21    death-penalty.              Thats           not           the          way        it     is.           We     need      those


    22    kind of       jurors who can               follow the                            law all          the way          through..



    23    the    trial.


     24                                   The        first              phase                of        a    capital              murder


     25   trial       you     will    hear          evidence                    in         relation               to       the    crime




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                                                             K. RFAWR.1O             A$
1
         that    is     alleged         to       have       been            committed                    then     after          you

2
         hear    that       evidence            the     jury will                       make        a    decision           as    to

3        whether       the       defendant             is   guilty or                      not          guilty         if    they

4        find    the    defendant               not     guilty then                        of       course        the       trial


5        is   over but on the other hand                                  if         they       find       the defendant


6
         guilty       then       you    go          into    what                is      called           the     punishment


7        phase    of    the trial               and    decide             what           the proper              punishment


8        should be.


9                                          But       the    important                      thing          to    remember is


10       that    none       of      this    is        automatic                      you      dont automatically

11       give    the --       give      a life         sentence                      you      dont         automatically


12       give     the       death      penalty              its                 only       done          after        you    have


13       heard     more      evidence               during the                   punishment                hearing.


14       A                  Yes        sir.


15                                                                   MR.         OLD            I       object.         That       is


16       a misstatement                of       the    law.               By         finding             a person guilty


17
         --     a person         guilty of             capital                  murder you                have     in effect


18       given     him a life              sentence             at least.


                                                                     MR..        TOWNSEND                  If   I misstated.
19




--21
20       that

                                                                     THE             COURT                 Im         going        to


          sustain       the      objection.
22


                                            I    do     agree             with          you             Counsel         I    dont
23



24
          know     that       it.    was         totally              a     misstatement                        but    the        net

          effect       of    finding            a     person           guilty              is       an    automatic              life
    25




                                                       LLOYD         BILLUPS.           149                                         10
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1
      sentence       so    rephrase              Counsel.


2                                                               MR.          TOWNSEND                   Im     not          sure

3     what    I    said    but what          I    meant            to say if                 a person            is    found

4     guilty of capital.murder                       you are not automatically                                         going

5     to    give     them       a    life        sentence                   or      you      are       not     going          to


6     automatically             give       them the death penalty                                      they are going


7     to receive          one    or the other and                           neither one                is   automatic..


8
                                                                THE         POTENTIAL              JUROR          When we

      --   but when        we. go         into the punishment                               phase       should        it.
 9                                                                                                                           get


      to that       at    this       trial        you are seeking                             the death           penalty
10



      so    the     decision         is.whether                 to          agree          with     that     or       not
11




12
      Q                   BY        MR.     TOWNSEND                         Your           decision           would          be


      either        to    go    along       and     actually                       --       and    I    will      explain
13




14
      that a little             more but actually you are not going to just


15    go    in there       and       say     Well                do you believe                        he    should get


16    a    life     sentence         or     do   you       believe                    he     should get           a     death


17    penalty

18    .                  Yes.


19    Q                  You     -are      going       to          answer               a    couple         of    Special


20
      Issue         questions              the    answer                    to        those        questions                will

21
      determine what                the     sentence               is            of     course         you     are going




--23
22
      to know


      A                   Okay.


24    Q                   --    you are going                   to      know            If    I    answer        this way


      it     will    be a life             sentence                if        I     answer         this way        it        will
 25




                                                                                                                               11
                                                  LLOYD   E.    BILLUPS      CSR 149
                                                     QFRCAL       COW       Room
                                                       761H     J EICti1LD ThC1
                                                          MI.   REAV    WI.ID
     1        be    the    death       penalty okay

     2        A                  Okay.


     3        Q                  If    you       will        there             is       a      sheet              up    there           that


     4        looks       kind    of    like          that.-          Indicating

     5        A                  Oh     yes.


     6                           If    you would glance                        at that.                I    will       go over that


     7        with    you.


     8
                                                 The       first            phase         of       a       murder            a    capital


         9
              murder trial             --    excuse          me             the       guilt            or    innocence              phase

              at    the    top    then you             are going                to hear                evidence              about       the
     10



              guilt       or innocence                of    the      defendant                 then you will                       --    the
     11




              jury will          vote        if        you    vote Not guilty                                      of       course       the
     12




     13
              trial       is   over         if        you    vote            Guilty then you                                 go    to    the


              next    phase.
     14



                                                 The        next            phase             is           what        we    call        the
     15




     16
              punishment              phase its                    down there in the middle                                        of    the


_.   17       page.         Indicating


     18
              A                  Yes.


              Q                  Then       you        .ar going.-to                      hear-            more evidence                 and
     19



              the kind         of     evidence             you hear               at     that point                    of    the     trial
     20



              -is    not    evidence             of    whether               the        defendant                  committed             the
     21



              crime or not because                          you      have           already decided                          that       hes
     22



               guilty          this    is    going          to     be        evidence                  that relates                to    the.
         23



               punishment             issue.
         24



         25
                                                 And the type of                          evidence                 that would            be


                                                                                                                                           12
                                                             LLOYD     E.   BILLUPS   CSR 149
                                                                   OFRM      COUA   ABOA1Ht

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    --4
    1




    2




    3




    5




        6




        7
                 of




                 the




                 of




                 you
                       course




                        defendant




                       that




                        know
                                 it




                 has the defendant. been


                              nature.




                                 all
                                         could be just almost anything


                 tend to hear possibly things like family history whether


                                          had




                                          sorts
                                                 You
                                                      a    religious background

                                                                involved




                                                            might

                                                           of    stuff
                                                                                hear
                                                                                          in trouble




                                                                                   you might
                                                                                                psychiatric

                                                                                                               hear.
                                                                                                                     but you would




                                                                                                                     or


                                                                                                                    before
                                                                                                                           not     if


                                                                                                                                  things




                                                                                                                           testimony




                                                 But        anyway                after              you        have       heard        that
        8




        9
                 evidence       then          you        vote     on            Special              Issue           1      and     well

                 talk    about       that       Special             Issue                    those         Special          Issues        in
    10



                 a    moment     but          first        you     vote             on        Special            Issue      1.
    11




    12
                                                    If     you       voted                    No           on       that     then        the


                 defendant       would get a life                         sentence                    if       on    the other hand
    13




    14           you    voted       Yes         then        you      go          to Special                     Issue       2.

        15
                                                 When you                 got        to         Special             Issue    2     if    you


        16
                 voted        Yes        the    defendant                 would                get    a    life           sentence         if



        17       you voted       No            the defendant                       would             get       the death         penalty


                 so     you   are     going           to    know           before. you                     vote           okay      If       I
        18




        19
                 vote     Yes            to    Number            One            and           No.to                 Number       Two      the


                 defendant          is    going to get the                                death        penalty.
        20


                                                                                MR.           OLD              We.    are    going         to
        21



                  object..       Thats              a     misstatement                          of    the        law        simply        one
        22


                               voting           doesnt              give                  anyone           anything.              its           a
        23        person


                  composite         of    the       jury         finding beyond                            a    reasonable              doubt.
.       24



                  being a       unanimous                 issue.
            25




                                                                                                                                            13
                                                                 LLOYD    E.    BILLUPS    CSR 149

                                                                         76TH   AML       DSifilCT

                                                                          MT.   RFASAM.    TOM
1                                                                  THE         COURT                 That        was        his


2     intent.         Im        going      to overrule.                         You might clarify                      that.


3                                                                  MR.        TOWNSEND.              I       say when you

4     vote       I-mean         the     jury     as         a      whole              of       course          one    person

5     cant      decide          anything.


 6                                                                 THE         POTENTIAL             JUROR             Is    it


 7    majority




--11
 8    Q                 BY       MR.       TOWNSEND                   No maam.

 g
      A                 Unanimous                    it      has          to         be    unanimous

10
      Q                 I    will       let    the         Court


                                                                   THE         COURT            Yes maam.

12
                                        In    order to return                              a   penalty          of    course


13
      if   you       answer          the     first         question                   Yes         and          the    second


14    No        all     12      must be in agreement                                 if    must be a unanimous

      sentence.
15




16
                                                                   MR.         TOWNSEND                  I    know    thats

17
      kind      of   confusing             since          you         dont even know what those

      Special        Issue questions                  are but                   we        are going            to go over
18



      that      in    just      a    minute.
19




20
                                        Do    you         feel            like        you      understand             that

                 -

                                                                   THE         POTENTIAL             JUROR            If     you
21




22
      answer         No         if     the     jury          answers                  No        to       Special       .Issu


23
      1    is    that       a   majority         vote              or         unanimous

                                                                   THE COURT                    That can             be by    10
24


      or more.
 25




                                                                                                                              14
                                                 LLOYD       E.    BILLUPS     CSR 149
                                                          cRic      COURT 17ýORIBt

                                                            76TH   DIcv   L   OM00
                                                            Mf.PIFASAM1O         s
                                                            THE POTENTIAL JUROR                               How many

2
      jurors       are   there

3                                                               THE       COURT             Twelve.


4                                     Thats            the        first               time    I    have       had   that


5     question       asked.


6                                                               MR.       TOWNSEND                  Me       too.


7
                                      If       you     will           now              there       is    a    sheet    up


8
      there that         on the       top        it    says           Special               Issues            have you


 9
      got    it

                                                                THE       POTENTIAL               JUROR         Yes.
10



                         BY     MR.    TOWNSEND                     Okay.              If    you will          read to


12
      yourself Special                Issue           1    then           well talk about                      that.



13
      A                  Just       Number            One

14
      Q                  Yes.       Just        Number          One weIll talk about                           it   then


      we    will    talk about                 Number      Two        in          a   little        bit.
15



      A                  Okay.
16




17
      Q                  Special               Issue            1         refers              to        the        future


      dangerousness              of        the    defendant                       would           you    agree      with.
18.




19
      that

20
      A                  Yeah.


                         Okay.             I    will       point             out        a     little         bit    of    a
21



      wording       in    there and              see      thatword                     probability
22



23
                                      First before                    I    point            that    out       just like


      in    the     guilt       or    innocence                 phase             when       the.    State      has      to
 24


      prove        beyond       a    reasonable                  doubt            that       the        defendant        is
 25




                                                                                                                         15
                                                  LLOYD    E.   BILLUPS   CSR 149

                                                          76THwicuk     asrracr

                                                          MI.   RFwWR     rows
                                                                                                                                           1
                                                                                                                                   t   ý




           guilty
 1




 .         A                    Yes.


 3.
           Q                    On Special             Issue        1       the State                also has to prove


 .         beyond          a   reasonable            doubt          that             issue          so    we    have    got       to


..                    to       you     beyond          a   reasonable                       doubt        that       there    is    a
           prove

 .         probability               of   the     defendant                   committing                 further acts             of


     7     violence.


     8     A                    Yes.


     g     Q                    Now       that word            probability you know                                        thats


 10        not saying            its       a    certainty                   its             not     saying that we can


 11        guarantee            that      hes          going        to.



 12
           A                    Yes.


 13        Q                    And you         are not            being asked                      as    a member of            the


 14        jury.      to predict            whether           he will                    or   not         its       just    in    it


 15        can       the       State      prove        that     probability                        that        he   would.


     16    A                     Right.


     17    Q                     Okay.         Another thing                         I      want    to    refer you to is


     18    that-phrase               where        it       says          criminal                  acts        of   violence.


     lg.       Indicating.


     20    A                     Yes       sir.


     21    Q.          -


                                 Now       the Defendant. in this case                                    is    on trial          for



           capital             murder          certainly                  thats               the        criminal          act     of
     22



               violence           we       are       required                   to          prove        that        theres            a
     23



               probability             that     he      would            --       prove            some    other       criminal
     24



     25        act    of       violence           it       doesnt                   necessarily                mean     that       we




                                                           LLOYD   E.    BUUPS.     CSR.    149                                    16
                                                               OR M I ALC OuAr REPoRM
                                                                76tH      EIc     DMMM
                                                                   Mt.   RFASATR.   IExA3
1
     would      prove        to   you       that he would                        commit         another        murder

2
     just      that     he     would        commit            some           act         of    violence        whether

3    it   be    assault rape murder attempted murder whatever.

4                                      Are you with                     me       on      that

5    A                  Carjacking

6    Q                  There      is violence                    involved               in carjacking.            Yes.


7                                      So     are     you          clear            on    that          part

8    A                  Yes.       I    think         so.



9    Q                  On     Special         Issue               1        if      after          --    you   keep    in


10
     mind      that      you      are    not    going                  to       decide         Special         Issue   1
11
     until       you     have      heard        all          this evidence                         I    talked    about


12
     during        the       punishment              hearing                     now          in       deciding    your


13
     answer       to     Special         Issue         1          you        can         mentally         go    back   to


14
     that guilt or innocence                         phase             of the         trial             remember what


15   you heard there               and then also consider                                     that evidence        that


16   you    have       heard      during        the          punishment                   hearing.


17
                                        But    to      be          a     fair         and      impartial          juror

18
     the    kind       of    jurors. we             need           in       a    capital           murder case.we


19   have      -.got   to have      those type jurors who cannot                                          say Well.

20
     I    found himguilty of capital                                   murder so automatically                         Im

21   going-       to     have      to       answer                Yes               to    Special          Issue       4.

     because                see         they            are                 not          .withholdin              their
22


      determination or their decision                                        until they have heard all
23


      the      evidence.
24



25    A                  Yes.




                                                                                                                        17
                                                    LLOYD   E.    BILWPS    CSR 149
                                                       OR1aAL couRc        MOM
                                                        76TH      .WCI     CORICT

                                                            Mt.   RFASANI.1W3
1
      Q                  Do       you    think     you           could              wait     and    wait     for    the

2     punishment             hearing       before          making                   your

3                                                                THE       COURT             Im     sorry.        Could


4     you repeat             that       question

5                                                                MR.        TOWNSEND                Do     you    think


6     you    could       wait           until     you       have             heard          all    this     evidence


 7    during the punishment                      hearing before making your decision


 8    on    Special          Issue       1
 9
                                                                 THE        POTENTIAL             JUROR          Yes.


10
      Q                  BY        MR.     TOWNSEND                    Consider              that     evidence          as


      well.        It        is    the     evidence               that              you     heard    on     guilt       or
11




      innocence
12




13
      A                  Yes.


14    Q                  If       you     will     read            Special                Issue     2      and    well

15
      talk    about          that.


16
      A                  Okay.


17
                         Now        I    believe basically you can boil that down


18
      to    saying            Well         I    have       already                   decided        the    defendant


19    guilty.      the        jury has..          the.. jury                has       already decided              that


      he probably             is    a danger        to           society                  because    if    you voted
20



21
      No      on   Special              Issue     1.that                   he was          .no     probably going


      to     be    dangerous              in     the.         future                 you    wouldnt          even       be.
22



23    looking           at    Special            Issue            2        because            that        would     have


      automatically                 given        him      a       life              sentence         but    assuming
 24



 25
      you     voted          Yes         on     Special              Issue.           1      then    you. look          at




                                                                                                                        18
                                                  LLOYD    E.    BILLUPS   CSR.     149
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                                                          W.RL3N           mw
        1


                1



1   1

            /




                    1
                          Special       Issue         2.

                    2                                        And    I       think              thats basically                            saying         is


                    3     this   a     death      penalty           case                   is     this              a death          penalty        type

                    4     defendant

                    5                                        What       you            are              being            asked       there         is    to


                    6     decide       if       theres         sufficient                               mitigating                  circumstances


                     7    that would             reduce       the       defendants-moral                                       blameworthiness


                     8
                          for    the    crime


                     9
                                                             And        I      cant                     tell            you        what    would         be


                    10    sufficiently                mitigating                      to        you                or    to   me     or   to   anyone


                    11
                          else         different             people                  on           the               jury        might       look         at


                          different         types of          evidence. in a different                                             way     something
                    12




                    13
                          that       might       make        you        feel               like                    Well            this    piece         of


                    14.
                          evidence          of    this        combination                           of             evidence         is    enough         to


                    15
                          convince          me    that        the           defendant                              should       receive        a     life


                    16
                          sentence          rather than             the         death                   penalty                whereas         someone


                    17
                          else might             look    at    the           same              evidence                  and not          agree      with


                          me    on    that       so     --    but       also                    want                          to    understand            on
                    18
                                                                                           I                        you


                    19    SpecialIssue                  2      its             unlike                     guilt            or       innocence           and


                    20
                          unlike       Special          Issue           1      in          that               the       State       does    not      have


                    21    to    prove       anything          to you                beyond                    a     reasonable            doubt.          We


                    22
                          dont        have.      to     prove           anythingto                                 you    period           its          just


                    23    strictly          a    matter of              your opinion and basically                                             you       are


.                   24    just       looking       at    everything                        you          have            heard       from the guilt


                    25    or innocence             phase everything                                 that             you have heard during




                                                                            LLOYDE. BILLUPS CSR 149
                                                                                                                                                          19
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                                                                                     MT.   REMN     1.1D/AS
    1
          the    punishment          hearing           and      you        are         saying              Okay         I   will

    2
          listen to           all    this         I    will           have            considered              all      of    it

    3
          now     is    there       something           in there                that          makes-me feel                 like

    4     this     case        and     this           defendant                 should             receive             a    life


    5     sentence          rather than           the      death               penalty.

    6     A                  Okay.


     7    Q                  Is     that    okay           Is that               something                 you    feel       like


    8     you    understand                Do    you       have any               problem with                    that

     g    A                  Sure.         Is    that        done          at     the         same.        time once-you


    10
          hear the          evidence        in the         punishment                    phase             then you go to


    11
          aroom        to    discuss        and answer                    these two                questions

          Q                   Right.        When        you          go    back         deliberate                the       guilt
    12



          or    innocence           then    you        are           going        to         go    out      and     tell         the
    13



          Court        --    the     jury       will       announce                   their         ruling             this       is
    14




    15
          after you           have     heard          all-this                 punishment                  evidence              the


          jury will          go back        again deliberate                             punishment                 when         you
    16



                                                                                                                           and
.   17
          are     deliberating              punishment                  you       will            answer         one              if



    18    you     answer          No       the    defendant                    will          get       a   life     -sentence



    19
          and if        you _answer          Yes           you move on to Number Two.

                                           You        dont            come        back            out. is         that       what
    20



    21    you     are       asking


    22
          A                   Yes      sir.


    23
           Q                  You    will        decide          Number               One         if       your   answer          is

     24    Yes         then    you     go       straight into                    deciding                  Number Two.


           A                  And what           is    a   life           sentence                in       Texas
     25




                                                                                                                                  20
                                                       LLOYD   E.     CSR.
                                                                     BILLUPS           149
                                                           MKIALCOURTRBOaiet
                                                             76THLOCIKOISJ       CT

                                                               MI.   RFASW.TDM
1
                                                          MR.            TOWNSEND                      I    believe              I



2
     will.let         the     Court answer           that.


3
                                                          THE          COURT             Maam               in any life


4    sentence         a person       is    eligible in Texas                             for parole                  at some


 5
     point       in       time.     That    doesnt               mean              he    or    she          will          get    a


 6
     parole        but      there     is    no     life                 without            parole                    if     you

 7   convict          a    person    of    capital           murder                 and the                sentence             is.




 8   life     as      opposed       to death       that                person           will        have         to       spend


 9   a minimum of             40 calendar         years before                           that person can be


10   considered             eligible.


11                                   That    doesnt                    mean         in   40.       years         a    person


12   is     turned         loose     that    means           that              person          will         be       there a


13   minimum of             40    years    before         the            process           can         even          begin.


14                                   You    are      also               instructed                     though              that


15   you     are      not    to    take    into      account                   parole when                  you       answer


16   those questions                 you are to answer                             those questions                        based


17   on the        evidence          not    on    what                 you         think       a    life         sentence


18   is     or   should be.


1g                                                         THE           POTENTIAL                 JUROR              Yes.            .

20                                                        .TH              COURT               You          answer          the


21   questions             and    then    your    answers                      of       course          dictate            what


22   happens.


23                                   Mr.    Townsend.


24                                                         MR.TOWNSEND                                 Thank         you.


25                                   Also on Special                           Issue       2       I       want to talk




                                             LLOYD   E.   BILLUPS       CSR 149                                                  21
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                                                   761H.AEICUIL        omacv
                                                     W.   RFAWff.      TOM
1        to   you     a little                 bit     about         the         sort            of       evidence             that        you

2        would       hear.            I    have       already talked to you about                                           you might


3        hear        --        all         kinds        of     evidence                      you          might            hear            the


4        important              thing            in     this          regard                 is       on     both              of        these


5        Special           Issues                during        that             punishment                      phase               of        the


6        hearing          you may hear                  all       sorts               of        evidence          and          in order


    7
         to     be    a        fair        and       impartial                 juror             we       have        got       to        have.



8
         those people                 who        can listen to                       that.        evidence             and give                it


         consideration.
    9



                                                 Now         thats                   not         to       say     you           have           to
10



         believe           it        thats             not   to        say that                  you       have        to       give          any
11




12
         weight           to    it         you know            you can                    listen to              it        and decide


         That         is        very           important               or       you             can       listen           to        it       and
13




14
         decide           That            is     not    important                     but        the       main thing is                       we


         have        got       to         have     jurors         who           are          willing             to        listen             and
15



         consider               all         the        evidence                  whether                  it.s         psychiatric
16



17
         testimony                  whether            its      testimony                        from       family members


18
         you     know           anything.


19
                                                  Would      you.       be able                 -to   listen .an consider


         all     the       evidence               irregardless                       of      what         type        it       was
20


                                                                            THE       POTENTIAL              JUROR                  I     think
21



          so.
22


                                                                            MR.        TOWNSEND                  Okay.
    23



    24
                                                                            THE         COURT               Maam                a       lot     of



    25
         us when we                  are       asked         questions                    say         I    think           I    can           but




                                                                                                                                                22
                                                             LLOYD     E.   BILLUPS   CSR.   149
                                                                aaF1c        COURT   RBOiitHt

                                                                     76TH   3AIQAL   CMRIC
t

    4




        1
              here we       are.      going       to    have to pin you                            down to whether                    you

        2     can    or    cant.

        3
                                               When you are questioned                                    I    would       like       for


        4
              you    to    be    a    little        more affirmative                                whether          you        can       or


        5     not.


        6                                      You said you think .yo can do                                          it        I    have


         7    got    to    know       whether           you     can            or         cant.

         8                                                                  THE           POTENTIAL           JUROR         I       could


         9    consider          all    the        evidence.


        10
                                                                            THE           COURT          Thank      you maam.

        11
                                                                            MR.             TOWNSEND                Thats             the



        12
              question          you    have        to    be     able              to.consider                 it     we     are       not


        13
              going       to    get    you to promise that                                      you are going to decide


        14    every        piece       of    evidence            that                 you         hear    is       really good


        15    really       worthwhile               but       you will                       at   least       give     it       a    fair


        16    shot        before       making           your            decision                    at     least        you          will


        17
              listen and             consider           it

        18.
                                                  Let    me      shift                    gears      and       talk     to          you    a


        jg
              little        bit      about        murder Versus                            capital        murder.                              .

        20                                        Okay.          Now                  you         know    from       looking              at


        21
              that     -indictment                that       the            Defendant                is       charged           with       a


        22
              murder        and      robbery basically

                                                                             THE           POTENTIAL           JUROR            Okay.
        23



        24    Q                      BY     MR.    TOWNSEND                           Lets         assume that              you       get.


              to     the    end of          the    trial        and the                      jury goes         back    there and
        25




                                                                                                                                          23
                                                             LLOYD    E.    BILLUPS    CSR 149
                                                                OFOWL         CODA    FBORM
                                                                     761H   AWICUIL   r   slmCT
                                                                     Mr.    PID           M03
                                                                                                                                                           I.1
                                                                                                                                                       .




        1
                 they       decide         while         the       State             has        proved         their case                   to us


        2
                 beyond             a    reasonable           doubt           that             the       defendant                committed


        3        a       murder but              they       didnt quite                        prove          that       he       committed


        4        the       robbery.


        5                                               Well        then                 you would              have      to find                the


        6        defendant                guilty        of    murder but                      not        capital         murder.


        7                                               Do    you       follow                me

        8        A                        Right.


            9    Q                        Well         in     a    murder                the           punishment             range          as    I



.                talked             to    you     a    little        bit           earlier is                  different                than      in
        10



                                          murder.             In         murder                 the          punishment                range      is
        11
                 a       capital                                    a



                 from        five         years         probation                  to         99       years        or    life              in   the
        12




        13       penitentiary.

                                                        Now        thats                 a wide              range       of       punishment
        14



                 and       that           you     know            there         is        of          course     a murder can                     be
        15




        16
                 a       wide       range        of   different              type crimes you                             know           you can


    A   17
                 have extremely                       vicious       murders                   or you          can have                 something


                 the        Judge         mentioned               when       you          all          were     here          a    couple         of.
        .1

                 weeks              ago      you -can              have              basically                 what           is        a    -mercy
                                                                                                                                   -




            19




        20       killing.


                                -
                                                        Are you familiar with                                   that type murder
        21




            22
                     A                    Someone            that       is     maybe               terminally             ill

                     Q                    Sure.          Something                   like             that.
            23



            24
                                                         But       if    you look                       at    the    murder                 statute


            25
                     that       is       still        murder             because                       you    have       intentionally




                                                                    LLOYD     E.   BILLUPS     CSR.    149
                                                                                                                                                  .2
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                                                                             76THJDICULOartacr
                                                                              M.   REAW/r.    TD/AS
      1        caused     the       death        of    another             individual.


      2        A                 Yes.


      3        Q                 So even         though        its             certainly a different                             type

      4        crime     its        still        murder.

      .        A                 Were       different           but          its               still        murder.

      6        Q                 So       theres        a    broad             range             of     punishment              there


      7
               and the broad              range of          punishment                     in murder and the                     kind

               of    juror     we     have       to    have      is         the           kind         of    juror that           can
      8



               consider        the        full    range       of          punishment                   in    a.case.
          9


                                                 The    full         range                of    punishment           in murder
      10



               is    from      five        years        probation                   to          99     years         would        you
      11




               consider        the        full    range
      12



               A                 Yes.
      13



               Q                 We       are    not     trying              to           get     you        to    look    in -and
      14




      15
               say       Well         I    would       give      somebody                      five     years       probation


      16
               or    I     would          give        somebody               99           years              but     you        would


               consider        the        full    spectrum
      17



               A                 Yes.
      18



               Q                 In .crimina                cases          the            burden        of    proof        is    with
      t9



      20
               the    State         of     Texas        we      have           to          prove            our    case    to     you


               beyond      a   reasonable doubt..
      21




      22
                                                 Now        that          is       --      that        is     something.         that


               we    accept         we     know       that     is     our burden.and                          we    are here to
          23


               meet      that.
.r.       24


                                                 On the        other hand                        the defendant              has    no
          25




                                                                                                                                   25
                                                             LLOYD   E.         CSR 149
                                                                          BILLUPS

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                                                                 76TH     JLIcAL   OISI



                                                                     W.   REASANf1EXAS
1        burden     of    proof           its        not       up to them to prove                              that    hes

2        innocent         its        up    to us        to          prove            that      hes         guilty.


3                                         Is that        something                       that you are familiar


4        with   and comfortable                  with

5        A                Yes.


6        Q                Okay.           Along        with              that            burden          of    proof     goes

7
         what   you might call                  or what                 is    the         constitutional                Fifth


8
         Amendment        privilege              and         that            is          the   privilege           of       the


9
         defendant        not       to    testify          and thats                       his choice.


10
                                          Of    course              the       defendant                  has   a right       to


         testify     if       he    wants        to     but             he    also         has       a    right     not      to
11




12
         testify         is    that       something                 that        you        are       familiar       with

         A                Yes.
13




14       Q                We       have    got    to     have              the       type       jurors who can               be


15
         fair-minded           and    decide          their decision on this case                                       based


16
         on   the   evidence          that       they hear and                           not    on       something       they


17
         didnt      hear.


                                          And     when              I        say         that        I    mean     if       the
18




19
         defendant        chooses          not    to testify would                             you be able.           to.   put

         that   aside         andnot           use    that              as    part of your                     evidence      or
20



21
         part of     your decision-making                                process

         A                Yes.
22



23
         Q                Okay.           Understanding                      that you know                      its     human.



    24
         nature     to        be     curious          as        to           why         the    defendant             didnt


    25
         testify     or       think        Boy          if          that       was me           I    would       sure want




                                                      LLOYD    E.   BILLUPS   CSR.   149                                     26
                                                           oFFICw.COWROKw            m
                                                              16TH.WclAL     ezroa
                                                              Mr.   aE.W4.    TDf4
1
      to    tell    them what             happened               or        something                you-know

2     A.                 Yes.


3     Q                  And thats            human nature                         and       thats okay              and    we

4     are     not       saying        that      you        should                   be       able     to    put           that


5     completely          out       of    your mind.just that                                  you not          consider


6     it    when        you    are       determining                guilt               or    innocence              in    any


7     way      could you            do    that

8     A                  Yes.


 9    Q                  That        Fifth      Amendment                     privilege              carries              over


10
      into the          punishment            phase       of        the            trial       also.        You       found


11
      someone           guilty of         capital          murder                  lets         say       and    you       are


12
      thinking          and    trying to decide                      what           the proper             punishment


13
      would        be    and    you      might      think                  Well              you    know         if       that


14
      fellow just gets up here and tells                                            me   hes sorry              it    might


15
      make     me feel          a   little       differently about                              this.


16
                                         But the      Fifth Amendment                           privilege still


17    applies           and he doesnt               have          to get up there and testify


18
      unless that              issomething..tha.t                      he          chooses          to do.


19
                                         In   order             to       be         a    fair       and     impartial


20     juror        qualified            juror      in      this case                    you        have    got       to    be


21
       able    to also         in that        punishment                     phase           make your decision


       based       on    the    evidence         you            hear          and        not    hold       it     against
22



23
       the    defendant             in    any    way       if         he           chooses          not    to     testify


       during       that       part      of   the     hearing.
 24


                                         In     any      kind               of          criminal           trial           Ms.
 25




                                                 LLOYD    E.    BILWPS     CSR.    149                                       27
                                                      OFRM       COURr REfomet

                                                         761H   tDICWL   COMO
                                                          MT.   RFASM1t.   1DtAS
1
         Henry        you    are     going        to      have                testimony             from       a    lot       of


2        different          kinds    of    people.                   You         may have           testimony from

3
         psychologists              you may have testimony from ministers you

4        may    have    testimony           from         police                    officers             you    may        have


5        testimony from someone                   that              you have                heard       of    or   someone


6        that   you     do not       even       know          but          the           important           thing      is     to


7        remember       is    that     in       order to be                          fair    and     impartial               you.


         have    got    to    be    able     to       start             all          those        witnesses.out.at
8



         the    same spot       on the       track                  not give              anybody        a head         start
    9


         because       they    are a        police            officer                    or because           they      are a
10


         minister or doctor                 or whatever.
11




12
                                      When        I     say that                     what       Im      really saying


         is    that    you     start        everyone                  out           at    the      same       place          you
13



         listen to          their testimony and after they                                          have       testified
14




15
         then     decide           whether            their              testimony                 was        important.


16       unimportant           believable                 unbelievable                            can    you       do   that

17
         A                  Yes.


18
                                                                    THE.        COURT             Thirty minutes.


19                                                                  MR..       TOWNSEND             Thank you             Your


20       Honor.


21
                  -

                                          Ms.    Henry                 in        some       criminal          trials         you

         will    have statements presented.                                     written statements                      or you
22



         might        call     them        confessions                        from          the    defendant              in       a
23



    24   criminal       trial         if    that         confession                       was     presented             to you.


    25    I   would    expect       that    the        Judge would instruct you --                                       lets



                                                                                                                               28
                                                      LLOYD   E.    BILLUPS     CSR 149
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     1


              just     assume         -for        the         moment                     that          you         believe.          the.

     2
              confession         is     true           you     believe                     that        written           statement

     3
              is    true what         the     person           said in there when                                  he    admitted
     4
              do you think         --    whatever                you believe                           that that          is    true.

     5
              The    Judge   is       going       to     instruct                     you.          that you        have       got. to

     6
              find    beyond      a    reasonable               doubt                 that           that     confession.            was


              voluntary      before           you      can      use             it       as         evidence.

     8
                                              Now       you         already -- we are -assuming this

     9
              but    we   have     already             assumed                  that             you    have        decided          the.


     10       confession         is    true

     11                                                                  THE            POTENTIAL             JUROR            Pardon

     12       me
     13
              Q                 BY      MR.       TOWNSEND                       Lets               just      assume           if    you

     14
              will     assume         for         me    that                 you         have          decided            that       the


     15       confession         or written              statement                        is        true.


     16       A                 Okay.

     17
              Q                 That     hes telling                         the         truth when                he wrote          that

     18       down    but you decide                that       we havent                            proved.to.you              beyond

     19       a reasonable            doubt        that        it          was          voluntarily. made                   because.


     20       oflack       of    Miranda           Warning                    because-of                 coercion           or        you

     21
              know- whatever.                 You      have         decided                     that we        havent          proved.


     22.      to    you   beyond        a reasonable                         doubt              that    it    was        voluntary.

     23                                       I     believe                  the          Court              the    Judge           would


         24   instruct       you      that        if    you          found               that          that        statement          was
ea




         25   not    voluntary          that       you       should not use                             that        as    evidence



                                                                                         CSR 149
                                                             LLOYD    E.     BILLUPS
                                                                                                                                       29
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                                                                      I.Q.   PIFAMNT.   1DMAS
1
         that you should not use that in your deliberation                                                        and not

2
         consider       it       in any way            in returning a guilt                            or innocence.


3
                                               And in order to be a qualified                                     juror we

4
         have got to have people who can put.that                                                   aside if       in fact


5
         they    decided              that      we     have          not         proved         the    voluntariness


6        of    that   statement                      are you          with            me

7        A                   Yeah.


8        Q                   Can you            do     it

9        A                   I    think         its.        tough           for         anyone.


10       Q                   That         is    tough.


11                                             You     know         we      are         not    asking      you     to     you


12       know     say            Well Im               going             to remove that                from my      mind

13       of    course        you      cant remove                    it      from your mind but you have


14
         got     to   be         able      to        not    necessarily                      remove     it    from      your


15       mind but          not        use       it    in     any          way         in     considering          guilt    or




nail-19
16       innocence.




but-20
17       A                   Yeah.


18                                             Again. just like you                             .don like to

         down things                  I    dOnt        like         to nail down things                      either

          I    feel   that        I       could        you       know              follow the          instruction         in




decision.-22
21       not     letting that-weigh                         in       the


          Q.                 When          I    say        I-expect                  the     Judge    would       instruct


23       you that way                     basically           Im           saying theJudge                   is   going    to


    24    tell    you        what         the        law    is       and         I     believe        thats what          the


    25    law    is   and         are you             telling              me        that      in   that     respect      you




                                                           LLOYD    E.   BILLUPS     CSR 149                                30
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    I
1       II




                                                          law
             1

                  could    follow               the

             2
                  A                 I       could          follow         the              law.


                  Q                 Okay.                 What    I     showed                       you           up there or.what                you

             4
                  looked       at   a       little          earlier was                              an           indictment.

              5
                  A                 Yes.

              6
                  Q                 Do          you       understand                           probably                   from the          Judges

              7
                  instruction               a    couple          of     weeks                      ago that               an   indictment           is.



              8   not    evidence               whatsoever                    would                      you        be     able    to       in    your

              9
                  decision-making                     process                 would                      you        be    able    to        consider

             10   that indictment                     as no evidence                               and not use it                  in any         way
             11   A                 This             is    what       you           are saying                           that you are            going.


             12   to    prove

             13
                  Q                 Right.                 All    that               is thats justa                                   charge.

             14   A                 Right.

             15
                  Q                 That             is    not    evidence                               at       all.


             16   A                 Right.

             17
                  Q                 Ms.          Henry            I      have                  been                asking      you      a    lot     of


             18
                  questions          and         I    appreciate                     your openness                             and appreciate

             19   your    answers.


             20                                           Is     there              any                  question           that       you       might

             21   have    of    me or of-the                     Court that                              you. can .thin               of     or    just


             22   anything          that you might want                                    to            say that maybe                 I    havent

             23   given    you       a      full          opportunity                          to         say

             24   A                     I   cant think                   of              anything                    at    this.time.

             25   Q                  Okay.                Let     me      ask              you                a    little       bit     about       the




                                                                      LLOYD   E.    BILLUPS          CSR.     149                                    31
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                                                                              MT.   RFASW.          WAS
 --6
1
     Defense      Attorneys                 in    this-case                                Mr.      Old    and    Mr.     Lance

2
     Hinson       do       you       know       either              one             of       these       guys

.    A                 I    know          which    one              Mr.             Old is          but    we     have    never

4    met.


 5   Q                 Theres              nothing            in that                        relation


     A                 I    --       I    feel    like         I       have                  seen him before             today.


 7   Q                 --       theres            nothing                  in              that     relationship              that.



 8   would     cause            you       any     problem                  so              far      as    being     fair       and


 9   impartial

10
     A                 No.


     Q                 Do        you       know    anything                             about        the    facts        of    the
11




12
     case

13
     A                 No.


14   Q                 Nothing             at     all

15                                        Ms.    Henry               now that we have talked about


16   the    death      penalty quite                 a      bit                 looking              back    on    the     first


     page    of                                                     --          do                  have    that    in     front
17                your questionnaire                                                         you


18
     of    you       Indicating.


10   A                 Yes.


20   Q                 Now               do you    understand                                that    in Texas       that       the


21   death-penalty                   is-.-only      available                                during.       capital       murder


22   cases     and         not       just    regular                murder                    cases


23   A                     Do    I       understand-                that                in     Texas       that    the     death


24   penalty is             only in capital                         murder and                      not    any other type


25   of     murder         case



                                                                                                                                 32
                                                   LLOYD     E.     BILLUPS         CSR.     149
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                                                           76 T H   ACOM   LL   o   S   CT
                                                            MT.     RMASANT.        TOMS
1
                     Other murder              case

2    A                I   do     now.


3
                     Okay. y
4
     A                I   do now.

.    Q               You       do   now

 6                                  Okay.        Well                     these          questions                 that.you

 7   were    asked        here      refer     to murder                            cases           these       questions

 8   on    the    first    page.


 g   A                Yes.


10
     Q                And so your answers                           related to that answer                                  down


     at    the    bottom of         the     first              page                if    you       are    in       favor       of


     the    death    penalty in some murder cases                                             do you agree                  that
12




13
     a    life     sentence         rather than                     the            death          penalty          would       be


14   appropriate           under        the      proper                       circumstances                         and       you


15
     answered        No.

16                                  Now     that         we         have               discussed          the       law       and


17   now    that     we    have      discussed                 how            the        law works             in       regard


.1   to    the     death    penalty            in      order to                         be    a    qualified                juror.


19
     we     have     got       to    have      people                      who          are        not    bias.ed             and


20   prejudiced            toward         a     life                   sentence                    or     biased              and


21
     prejudiced           toward        the    death                penalty                  if    that        --       I    have


22
     heard        jurors    sayWell                    you           know                Im        just       --    I       dont


23
     believe        in    the    death        penalty                  and             Im     not       ever       going       to


     give        anyone    the      death     penalty.
24



25                                   See       that                 person               is       not     a    qualified



                                                                                                                               33
                                              LLOYD     E.   BILLUPS       CSR 149
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                                                      76THA.    114L   o      to
                                                      Art.   PLEA   AM.    TDtA$
1
         juror because               they        cant wait                          and     hear            all    the    evidence

2        and    fairly          decide           you       know                 what        the            proper       punishment

3        should be.

4                                           On       the     other                  hand              if     a    person      cannot

5        conceive          of        you       know        this              person              is        biased       toward the

6        death        penalty          as       opposed                    to       being             biased           against       the


 7       death        penalty          then          they             are            not         fair            and    impartial.


 8       either.


 9                                             And    what             I     need           to        know        from you      is    if


10       a person          is       found      guilty of                    capital               murder can you                give

11       after hearing               all       the evidence                         can     you make your decision


12       on    those       Special              Issues            and           if        you         felt        the    defendant


13       was    appropriate                 for      it     give                a    death            penalty           and    if    you

14       felt     the       evidence             was        appropriate                           for        it    give       a death

15       sentence

16       A                  Yes.           I    could.


17       Q                  So you             are    not locked                      in and.              saying        If    I    find


18       a     person      guilty of                 capital                 murder               I    just        dont believe

 19      in     the    death         penalty           and         I        couldnt                   give        it
20                                             And on the other hand you are not locked


21       in     to-say              Well.-I           am automatically                                     going       to give. the


22       death        penalty               either


 23                                            You        could              go       either                depending          on    the


    24    facts       of   the       case        and       the             evidence


    25    A                     I    feel       that        that                is     part            of        considering         the




                                                          LLOYD    E.      BMPS      CSR.   149                                        34
                                                             anaMLOOM iýaneý
                                                                  7M       AMCLk
                                                                  M   r.   FLE.
         full    range           of    punishment                available.

    2
         Q               Right..


    3    A                   I    think         it    would                 be       my duty           to     consider         the

    4    choices.


    5    Q               Right.


     6                                      Looking               back               at     Special           Issue      1      it


     7   talks    about           future        dangerousness                              lets        say that you have.


    8
         decided        that          a   person           is      guilty              of     capital          murder then


     g   you    heard        this         evidence          on           future             dangerousness             and you

         have    considered                it        and    you             have           decided           the    answer      is
    10




    11
         Yes      and the --                but then                   at       that        point       you    have      got    to


    12
         consider        Special                Issue           2               you        have        already        found       a


    13   person    guilty of capital                        murder                    you have          already decided


    14
         that     they           are      probably               going               to     be     dangerous             in    the


    15   future         we       need      the       kind          of           person        on       the    jury who can

    16
         be     fair    and           impartial             and             consider              all        that    evidence


    17   again         before             deciding                     Special               Issue            2      and       not


         automatically.say_.Well                                       if       he committed                capital. murder
    18




    19
         and if        hes going to                   be dangerous                         in the -future            I   m    just



    20   going     to    answer             No         on        number               two.         I    dont even need

    21
         to     think    about            it.

    22                                      Would               you             be         able        to     go    back       and


         reconsider               everything                all             the        evidence              that    you      have
    23




.   24
         heard     before             making your answer                               to    Special           Issue     2
         A.                      Yes.
    25




                                                                                                                                 35
                                                       LLOYD      E.   Ba.LUPS    CSR 149
                                                            CFFCNlc         u    ABOar6t

                                                                76TH        WosýCT
                                                                 W.    IUASAW.   MM
 --7
1
     Q                  Okay.    Keeping           in         mind         Ms.    Henry        basically

2    what    we    are     asking      you    to         --       each         time well           whether


3    its    guilt or innocence                Number               One or Number             Two we      are


4    asking       you    to go    back       and        reconsider               everything         before


5    making       your decision           not          make        an     automatic          decision.at


 6   any    stage         but    consider               all        the         evidence       before..


     consider       all    the evidence            before making a decision on-any.


8    of    those.


 9                               And you           said           you     could        do   that

10
     A                  Yes.


11
                                                         MR.        TOWNSENDIll                 pass the


12
     juror Your           Honor.



13
                                                         THE        COURT          Lets take            about


14
     five    minutes then             we will           start with               the    Defense.


15
                                  You may step                 down you can                 just go right


16   there.


17




18                                Recess.




20                                 The following occurred                              in the presence


21
     and    hearing        of   the    potential                  juror

22



23                                                        THE       COURT         Ms.       Henry   are you


24   ready        for    some more      questions


25                                                        THE        POTENTIAL JUROR                I   guess



                                                                                                           36
                                          LLOYD    E.   BILLUPS   cSR.   149
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                                                  W.    RFAWNJ.   TW.$
1
     SO.


2                                                                   THE       COURT             Okay.


3                                    Mr.       Old.


4.




5                                    VOIR.DIRE                       EXAMINATION


 6                                                   BY       MR.         OLD


 7




     Q                 Ms.    Henry             I    have             been         introduced                 to    you   I   am
 8



     Bird Old.
 9



                                     You            indicated                      you       perhaps           knew    me     on
10



     site   or knew           me by        reputation                         orotherwise
11




12
     A                  Yes     sir.


     Q                  You    and     I       have          never             had       any    --       never        met
13



     A                  Never        met        formally                               No.
14




15
     Q                  Anything           in        what             you          have      heard        about.      me      my


     reputation          that       would            go       against                  Mr.    Wardlow
16



     A                  No.
17




18
     Q                  Now     Im         a    lawyer and                         Mr.    Townsend             is    a lawyer


     also        he    represents              the        State               of       Texas.        I    represent Mr.
19



     Wardlow          along    with        Mr.        Hinson.
20


                                     Mr.            Hinson              and        I     represent Mr.                Wardlow
21



     who    is    charged       with           a     crime.
22


                                     Now             simply because                            Mr.       Townsend.        works
23


     for    the       State     of     Texas                would             he        have    more           credibility
24


     with    you       than     I    would            because                  I       work    for        a    man that       is
25




                                                                                                                              37
                                                    LLOYD     E.    BILLUPS   CSR 149
                                                       ORCKCOUaraýorrrer
                                                            76TH.    DWLDOWC1
     charged        with     a   crime

2    A                No.


3    Q                 Do   you        still         have          your questionnaire                        infront

4    of   you

 5                                                               THE       COURT                Its    right-here.

 6   Indicating

 7              .
                                                                 THE       POTENTIAL              JUROR           Yes.


 8                                                               MR.       OLD           You     indicate         on the


 g   first      page       that    you         are         in      favor            of    the     death      penalty

10   you checked            Yes         and then you were asked                                  to explain your


11   answer.


12                                                                THE      POTENTIAL              JUROR           Yes.


13   Q                 BY        MR.     OLD               And       I     believe           we    gave      you     five.


14   lines      to explain and                 I   certainly doubt                         if    thats       adequate.


15   to   give       anything          on    that           shorthand rendition.


16                                     Your first                   statement is                  If     a person        is


17   to be      imprisoned             for the             remainder of                    his    life       he   should


18   be   put       to.death.


10                                     Can         you          expound             some        on-that      and.    tel.l...




20   me your thinking                  behind              that           statement what                 led you to


21
     that    opinion

22   A                 I    just        feel        that          thepersons term that would

23
     extend         beyond       what       would           be     the         persons            natural         life   is


     just    in essence                placing             him out                 of    society       for    the.   rest
24



25   of   his       life     so why          should               we.     support           the       living       within




                                                                                                                          38
                                                   LLOYD   E.   BILLUPS   CSR 149
                                                      CFRCKLCOUarýom
                                                           761NAEMALCOM        M

                                                            W. g1AW.      MM
1    prison      walls

2    Q                 Let     me ask           you       something                        is    40     years      in    any

3    circumstance            pretty           well       equal                 to the rest of                  someones

4    meaningful         life         to      you

5    A                 Not    in a young              person                   that       wouldnt be           -50   years

6    old or something.


7    Q                 Do    you         understand                       that       is        something       that      you


8    are    not   to        consider             you            will            be        told       you    are    not    to


9
     consider      the       rules            and laws of parole


10
     A                 Right.                Right.


11
                       Now         if    I    understand                      that instruction                 correctly

     it    may    --    you             should        consider                      life        as      life      and    not
12



     consider      the       possibility of                              parole.
13




14
     A                 Okay..



15
     Q                 Okay.


16   A                 Okay.


17   Q                 And        you would             agree                   I   mean        in what        the   Judge


18
     told you what            would probably. be -- you will                                            be instructed


     not    to    consider                      that            you            are.       not    to     consider         the.
19




20   possibility             of     parole and                       I    mean        as       the     Judge    told     you


21
     just because             it        says you         do.40                 calendar           years or what we


22
     call     doing          40      flat        that                it       doesnt mean by any means

     that     someone         is        going      to     parole                    after 40 years.
23


     A                 Right.
24


     Q                 So.    in        effect          if               he    gets        a    life       sentence      you
25




                                                                                                                           39
                                                 LLOYD   E.     BILLUPS       CSR. f149
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                                                        76THWICYIL    CtMaM
                                                         INf.   FLEAMW.IDM
     have    got    to       assume that you                           are     giving           them     life

2    A                  Natural             life      or            40      years         minimum

3    Q                 Giving          them        life.


4                                                                   THE         COURT                  Maam             the


5    sentence          you     assess         is     life                what         the       Board      of    Pardons


6    and     Paroles         does       is        out             of     your            hands        my    hands       and


 7   everyones              hands.


                                       A life           sentence                    is     a   life    sentence          but
8



     in     Texas      there      is    a    possibility of                               parole      at   some       point
 g


     in time.
10



                                       That point                      in time in a capital                      case           is
11




12
     40 years          or    longer          it    may be less than that                                 in some       case


13
     but     in     capital          murder             its               40        minimum but             you       cant

14   assume that in 40 years that                                      you get turned                 loose because


     a     life     sentence           is     a     life               sentence                period.          And    if        a
15




16   person       is    on     parole they are on parole                                        for   the   remainder


17
     of     their       life      because            theres                    a     life        sentence        hanging


18
     over     them.


19
                                       So     like           Mr..         Old is           telling.        you    you do.


     have     to assume that                  a     life             sentence              means      exactly         that.
20



      For               to     do      -anything                     other           than         assume         that           is
21            you


22    speculating            on   what        these rules                           and    regulations will                     be


23    years       from now          in the          future                  and      that       is    improper.


24
                                                                       MR.     OLD             Now    can you follow


25    the    instructions               as        the       Judge              has        explained         them                Can




                                                                                                                                 40
                                                   LLOYD     E.    MLWPS.    CSR.   149
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                                                           7611    ICML oWM
                                                            I.U.   REAS.1W3
    1
          you    consider          life          to be a                  life       sentence

    2                                            Yes       or         No             please based               on what you


    3     now    know       and    what          the       Court now                     tells      you    and will       tell


    4
          you    to    be    in.his              charge

     5                                                                     THE      POTENTIAL          JUROR       Consider


     6    a   life     sentence           to be            a       life          sentence.


     7                                           Yes.          I     think           I    can.


     8    Q                  BY        MR.       OLD.          Okay.                Does      the   fact     that you now


     9    know       that        the    eligibility                         for          parole        starts. after        40


-   10
          calendar          years            would         that             influence you                  as   to whether


    11
          or    not    to    give       a        life      sentence


    12
          A                  I    feel           like      it        does.


    13
          Q                  And       you.          are       answering                     me   affirmatively            you


    14
          think       that       --that               those               instructions               and    the    fact    you


    15    know       life    equals              at     least             40

    16    A                  Yes.


    17    Q                  You        think            that              is       going         to      influence       your


    18
          verdict           and decision                 in this                 case.


    19.   A                  Well            I   need some clarification on influence..


          Q                  Would           that be something                               that you would        consider
    20



    21
          in    arriving at your verdict


    22
          A                   Oh       that a life                        sentence            would       be a minimum of



    23
          40

                                                 No.
    24



    25
                                                 I    think           we      are talking                 about   what     form




                                                                                                                             41
                                                         LLOYD                      CSR 149
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                                                                     E.   BLLUPS.

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                                                                    he.   REMNR.1UAS
      to---3
      1    of   punishment              is    appropriate.

      2    Q                  But       I    mean are you                            going

           A                  Speaking             of        life.


      4    Q                  --       are you          going          to consider                    the effect        of your




      --8
      .    answer      that           Issue       1      as       to         Yes             or     No       are you.going


      6    to    consider             what    you        know          about             life        sentences


      7    A                  As to whether


           Q                  I.      believe          Mr..    Townsend                      told you       a    jury.answers


       9   that    first           issue          No           it          results in a                   life   sentence.


      10
           A                  I    dont           feel        like           I       can consider           the punishment


           in deciding                my answer              to      be          Number One.
      11




      12
           Q                  You think                 it    would                  influence        that       answer      is   my


      13   question

      14   A                     Pardon


      15   Q                     Do    you think              what               you have           now    been told about


      16   a    life    sentence                  40    years before                         parole would             influence


      17   you    in answering                    that-question


      18
                                                  And        Im        not            asking         you     how      you    would


      19
           answer       it.   but would                 it    be       something                    that you would           think


      20
           about       in     answering                that         question

                                                  You        know                I    mean      you    will      be    told.      the
      21




      22
           outcome          of     your       answer                 you             have      already been            told       and


           the    Court           in    its       charge                   written             instruction            will     tell
      23



           you    the       effect           of    the        answer.
      24
-.ý



      25
           A                     Yes.




                                                                                                                                   42
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 1
     Q                 Now        what         we     have           talked              about       life        40    years

2    and the Court               s    instruction                   that you are to consider                               life

3    is   life        is     that        going         to be             something                 that    goes       to    the

4    answer      to    that           question

 5   A                 I        dont        think.           its             appropriate.                   We    have        to


 6   decide      if    they prove                   beyond            a reasonable-doubt                         that      its

 7   a probability of                    committing                   criminal acts                  in the        future..


 8   Q                 You are saying that is                                          --     I    mean if-you knew




--11
 9   --   I   mean         if     lets           say      the           instruction                  was       different

10   lets     say      it        says      life


                                                                     MR.          TOWNSEND                Object            Your


12   Honor.            Thats               not        relevant                      If        an    instruction               is


13   different                  the    instruction                    is         Special           Issue    1      she       has


14   answered         that           she   can        answer                 that        question         based       on the


15   evidence         and        not       on    anything                    about          parole.


16                                                                   THE          COURT            Sustained.


17                                                                   MR.          OLD          Now        in     answering


18   Special          Issue          2     can      you       tell               me    in.your own             words        what..


19   Special          Issue          2     asks       you          as        a    juror

20                                                                   THE          POTENTIAL           JUROR             Okay.


21   Special          Issue          2-...is     asking. whether                            after hearing             all    the


22   evidence          in both phases                     is        there something                       in there. that


23   I    feel    like          would          --    in       a      persons                 background           or    as    it


24   says     here          character                   background                          life     circumstances

25    I   suppose          that          would        reduce                 his         responsibility                in    the




                                                                                                                              43
                                                     LLOYD   E.    BILLUPS   csR.     149
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1
         offense        that          hes accused                          of.


2
         Q                    BY       MR.          OLD            Would the instruction                                       as    to what.


3        we      have       talked              about              about              parole                in      answering            that


4        question             the      effect                of    the           answer                is    if     you       answer that


5        question           Yes                its           a     life            sentence                    if       you     answer       it


6        No        its           a    death             sentence                     would              what        we        have    talked


         about         about          parole                 and     what             you          are         not        to    consider
7



         could         that       influence                   your answer                        to         that question
8



         A                    No.
    9


         Q                    I      mean       I       want        to          ask       you a question                       about     some
10


                                                                                                                                             Im




--16
         types         of   evidence                    you       might             hear           as       to      that       issue
11




         not      asking          you whether                      to           predetermine                      on      how you would
.1


         act      on    that         evidence                    my question                       is       would you reject                  it
13




14
         as      evidence             that              is    something                    that             you would           not weigh


         as      evidence              a       jurors duty                          is      to weigh                the       evidence
15



                                                                                 MR.        TOWNSEND                      I   believe        the


         juror         has the         right                 not    to weigh                     evidence                if    they    decide
17



         theres             no       weight             to    the          evidence                     all       they         have    got    to
18



         do is         listen to it                      and       consider                      it.
19



                                                                                  THE       COURT                   I     think       you.   are
20



         correct             Mr.       Townsend.
21



                                                    I    will        ask            the          Defense                to. rephrase.
22


                                                    I    think                 certainly                    the     juror        can    weigh
23


             or not     weigh              I   think             the question                          is does the              juror have
24


             a   predisposed                   bias          toward               the          type          of     evidence            is    it
    25




                                                                                                                                               44
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    1
          something       that they would similarly reject without                                                   giving

    2     consideration
ý

    3
                                                                     MR.        OLD              By    weigh          I    was


                    you if          you would          not act                            it    but    consider       it
    4
          asking                                                                on                                          as


    5     a type of       evidence          that.   you would take                              into consideration

    .     on   mitigation.

    7                                      Would       you            have            a    prejudice             against

    8     Im     going     to       ask     you     about                several               different           kinds    of


    9     evidence        as    to    being evidence                           to consider                 in mitigating


    10    evidence.            would        you        consider                           evidence          of      age     as


    11    mitigation            as    mitigating

    12                                                               THE                  POTENTIAL                 JUROR

    13    Possibly.


    14    Q                BY        MR.    OLD            I         am not               --    you    could.      conceive


    15    of   a   case        where       you     think                you           could      consider           that    in


    16    mitigation

    17    A                Yes.


    .1                                                                MR.       TOWNSEND               I    object -tothe


    19.   form.    of    the        question           hes               asking                could       they    consider


    20    that as mitigation the wording that                                                  he uses implies that


    21    they     have        to    consider          that              mitigating                   and    I    think     the


    22    proper        form    ofthe question-is Will they consider                                                       that


    23    evidence        when        they    are      determining whether                                   theres         any


    24    mitigating            factors           or    not                     I         dont        think        they     are


    25    required         to        consider          age              as          a     mitigating              factor     or




                                                   LLOYD       E.   BILLUPS.   CSR.     149                                  4.5


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                                                           761H

                                                           Mr.      PREAVH.    MM
1      consider      anything           a mitigating                         factor.          They       are          just to


2      consider      whatever            evidence                   is      presented            and then             decide


3      whether       any    of    those elements                            are mitigating or                     not.


4                                                                   THE       COURT              Again            I    agree

5      with   you we         are       getting              into --                 he    may be        taking          ---he


6      has    stated       the    proposition correctly                                      all    he       is       asking


 7     you maam            is    there some particular thing they are going.


 g     to offer that            you would just automatically                                       reject             and not


 g     give    any    consideration                  whatever.


10
                                       You are not                       being asked               to    commit            what


11     you    would    or        wouldnt             do             what        you        think    is       or       is    not


12     mitigating.


13
                                       Mr.      Old just wants                            to know       if   your mind


.1     is    open    to the proposition that                                   age        or whatever          he might



15     consider       is    proper             that you would                         consider          in-answering


16     that    question.


17                                                                  THE       POTENTIAL            JUROR                Issue


18     2.

.19.                                                                MR.       OLD           Yes.


20                                                                  THE        POTENTIAL            JUROR                  Yes

       sir.
21                                     _.._




22     Q                   BY    MR.          OLD      Wouldyou                      consider       a     person            the


       circumstances              and         environment                      of        their     raising              their
23



 24    family history


 25
       A               Yes.




                                                                                                                             4 6
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                                                            76TH.    S5PLU     CT

                                                             W. RFASW.       TOM
                        Could    you          consider             psychiatric                 evidence

2    A                  Yes.


3    .                  Is    that       an     affirmative                       answer

4    A                  Yes.


5    Q                  Would    you            consider                 somebodys              religious          and

6    moral       history

 7   A                  Yes.


 8   Q                  Religious             belief

 9   A                  Yes.


10   Q                  Would    you consider their education                                         or    lack    of


11
     education


12   A                  Yes.


13   Q                  Going    back            to      your           questionnaire                 the    bottom


14   of       the page there is                 a statement                       and it      really only asks


15   of       someone    that    is        in    favor           of       the       death penalty and you


16   have       indicated       that you are in favor                                   of   the death      penalty


17   and        then    the     question              is           Do             you    agree      that    a     life


18       sentence       rather..          than           the.           death            penalty       would        be


19       appropriate         under        the.    proper             circumstances

20                                       You.    answered                 No            to   that   question

21   A                  Yeah.


22                      Can     you        explain              to        me       your      answer.       what    you


23       base    that    on    and         first              is        that        still      your    answer       or


24       your   opinion

25       A.             Well         I    was      sort          of         surprised          when    I    saw    it


                                                                                                                    47
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1
     too.     Maybe         I       didnt understand                                 that.


2
                      When           you          saw    the            question                originally

3
     A                  Because               it    sounds                  like           you       know           sounds          like


4    --     okay     --         I    think           based              on what             I    know         now that there

5    --   that after hearing                         evidence                      you are to make a.decision

          what     is                                                   would             have       to             --    I     would
6    on                    appropriate                       I                                                say


 7   have    to    say       Yes.to                  that.


                                    me       --    what                                   saying          is              have       now
8    Q                  Let                                      you            are                             you


 9   found    the       law requires                      certain things


10
     A                  Or      allows              certain things                               I   guess.


11
     Q                  Im           not           asking                   you           whether             you        agree        or



12   disagree        with the law                       Im              asking            you whether               or not          that


13
     first     was      your             opinion             the            day       you       filled          this out             and


14
     that     is    still            your          opinion

                                                                                                                           --       that
15   A                  You          --       now        I    would                 have        to    say       that


16   this     is    not         still              my opinion                        Im         not       sure      what        I    was


17   basing that                on       at    the      time except                         that      it       would       have       to


18
     be     limited knowledge.


19   Q                  Okay.                 Well up                   above             in your explanation you


20   made it       clear             I       feel       that            a   person              should pay for a.life


     with     a    life.




--25
                                                                                                          S




21




22   A                   For             a    life       with               a      life.


23    Q                  Now             I   mean you werent asked about                                             --   in these


      questions          about               capital          murder versus
24


      A                  Yeah.




                                                                                                                                       48
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        Q               --     non-capital                  murder                            were     asked      how
                                                                                       you                               you
1




2
        felt    about        the    taking          of      a life.


3       A               In     a    lot       of    ways            I     feel            that.


4
        Q               Okay

5       A                I    do.


6       Q               Would           it     be    a    fair                statement             that    your       views


 7      and     opinions           on        capital               punishment                    favor      the    use    of.



8       capital      punishment

.       A                The death penalty

10      Q                Yes.


11
        A               No.         Not. on what                     I    now            know.


12
        Q                What       is       it     that           you        now         know      that    has   changed


13
        the    opinion

14      A                Capital             murder          is          --       that        the    only difference


15
        between       --      between              capital               murder               and    murder       is    that


16      murder       was      committed              in            the            --     during       the    course       of




--18
17
        another


        Q                Of    a    robbery

    9   A                Yes.           Another           offense.


20      Q                How       did that              change               your           opinion


21
        A        -
                         Well           the        answer                was           you     know        the    question


22
        is     not of    capital             murder                it    was           just      asking     How do you

23
        feel     about       the    death           penalty

24      Q                And        I        mean    is            it         a        fair      statement        in     your


25      answers you were                     all    for       it


                                                                                                                           49
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                                                             ha.   RFAWR.TOM
--4
1




2




3




5


6



    7
         A


         as


         Q
                 being an




         and there is nothing

         --


         capital
                 is




         punishment
                               I




                              Okay.
                                    would


                                    option




                       that the law that


                             murder
                                                be more




                                                you
                                                    in any


                                                So your


                                                     wrong




                                                          think
                                                                   in


                                                                   murder
                                                                          favor of




                                                                    disagreement
                                                                                     case.




                                                                   with disagreement with the law


                                                              distinguishes




                                   ought to be from some number of years to
                                                                           for           murder
                                                                                                    the death




                                                                                               between
                                                                                                        with




                                                                                                          the
                                                                                                                the
                                                                                                                      penalty




                                                                                                                murder and


                                                                                                                    range
                                                                                                                          law




                                                                                                                                of


                                                                                                                           death.



         in      all        murder       cases
8



    9
         A                     Yes.


         Q                     And       based        upon         your         other          statements             that      if
10


         I       understood              you        correctly                  you        correct              me    if     I   am
11




                                               that                                      felt           like    as    a    death
12
         misstating                 you                   you           really


         penalty              as        opposed       to       life            was        a     better          punishment
13



         because             you        saw    --    you      didnt             see       a    benefit          of     keeping
14



         somebody             locked          up    for       life
15




16       A                         Right.


         Q                         And    whether          the          law calls              it       capital           murder
17




.1       murder                homicide                    the          taking            of        a    life       should      be



         punished             with        the       loss      of        life        iS    your.         basic       opinion
19




         A                         An option.
20



21
             Q          -
                                   An option

22
         A                     .A         option.

                                   Do           think         there            is    anything             wrong       --    wrong
    23       Q                           you

             with      being        biased to             a    certain              position
    24


             A                     Whether          the       death        penalty or
    25




                                                           --LLOYD                                                               50.
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         1




             1
                                  You       are          not    offended                  by           the       word --          by   saying

             2
                  someone    is       biased                   we are          all        biased to things                              are we

             3    not

             4    A               Sure.              I     think         so.          We              are    all       biased.


             5    Q               Biased means we                                  are        for           it

             6    A               We       are        biased         in              some              for       or    biased          against

             7    it.


             8    Q               If       we       are        prejudiced                 against                 something

             g    A               I    guess             that      would              be              your       interpretation                   of


             10
                  the    terms.


             11   Q               Okay.


             12
                  A               But           biased             to         me.       could               be        for    or     against

             13
                  its     just    set               in the       way.

             14   Q               You       have           a    bias          of     the              --    in    favor       of       a death


             15   penalty    over           a       life       sentence               in              the    penitentiary                   where


             16   you    think        the       death           penalty              is               the    appropriate                option


             17
                  over    life    is       not        as       appealing                to            you

             18
                                                                               MR.        TOWNSEND                      Your Honor                 I




             19
                  believe    the       question                 he asked              was              so superfluous                  Im     not


                  even     sure       --        I    think        he          asked                   her    if       she     had       a    bias
             20




             --25
                  toward.    the       death             penalty              in      a       case           that           she     felt      was
             21




                  appropriate              for        the       death              penalty                       is    that        what       you
             22



             23
                  asked


             24
                                                                               MR.         OLD               Your           Honor


                                                                                MR.                   TOWNSEND                              The




                                                                                                                                                  51
                                                                 LLOYD   E.   BILLUPS   CSR f149

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                                                                         Mr.REAWL1O          i$
     --2
     1

          question

                                                                        MR.        OLD               I     object           to        him

     3
          asking the        Court what                I    asked                he        knows          its        not     a    legal

    .     objection         to     the      question.

     5                                                                  THE        COURT             Do        you understand

     6    the   question           as      asked

     7                                                                  THE        POTENTIAL               JUROR                Repeat..


     8    it.


     9                                                                  MR.        OLD           I       cant         repeat           it.


    10    Can we have            the       Court Reporter                          read it           back            Your Honor


    11                                                                   THE       COURT                 Yes         sir.


    12




    13                                       The question                          referred to was                      read back


    14    as    follows             You          have       a      bias            of      the       --        in     favor           of     a


    15    death       penalty          over       a   life              sentence                in       the     penitentiary

    .1    where       you     think          the      death                penalty              is        the        appropriate

1   17    option       over      life        is    not       as          appealing               to       you
    18




    19                                                                   THE       POTENTIAL
                                                                                                           ý



                                                                                                               JUROR            I f    you


    20    are    asking       if       I   am to make                    the       decision whether                          to give


    21    the    death      penalty--or               the         life             sentence              in    the case                the


    22    death       penalty is more appealing                                     tome Iwould                         be      biased


    23    to    use    that        instead of              the            life        sentence


     24                                                                  MR.        OLD              Do        you    think           that


     25    statement        that           you    just       made                  the     opinion              that        you       have




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                                                                  ion.    cic   tGWRict

                                                                  W.PJAwa.mw
     and    the       attitude
1

                                          that         you        just             expressed

                                                                                                            JUROR
2
                                                                        THE         POTENTIAL                                  I    was




 --7
 3
     just    really repeating your question.

4
     Q                     BY     MR.        OLD         Was             that               your answer

5    A                     No.      I.     was        repeating                      your          question            you          were

 6
     asking          me is       that            you    know


     Q                     When     you           stopped                      I        presume             that       was          your.


 8   answer

 9   A                     Yeah.


10                                         No.


11                                         You        are        asking.                    me   in    a.   case       where          --


12   where       I    am to decide                 to    give             the death                   penalty or a life

13   sentence               you     are           asking                 or         you          are        asking         for        an


14   affirmation                 that       I    would           be        inclined                 to      give      the          death

15
     penalty          rather        than           a    life              sentence                 and      I    have          to    say

16
     that    I       could         not           to    be        fair                   I    could       not         say       that     I.



17
     would           always         favor               one              over                the       other.              I       think

18   thats           --


19   Q                     .No always

20   A                     Not always.

21                                       _.._I   mean you                 --        I       may have            an    opinion          on


.2   paper       but        get     you           know            if       I        am here            being          you          know

23   asked            to         really            think                  about                  this           and        take           a


24   responsibility to make a decision that                                                           Im     thinking about

25   it    more so           I    have           never      been



                                                        --LLOYD
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     1

          Q                 Would       your attitudes                        toward          the       death     penalty

     2
          that    we   have       been       talking        about                     do you think            that       they

     .
          could    effect          your       deliberation                         in       this        matter      in    the

     4
          answer       of        the     questions                that                you     are        asked      as     to

     5
          innocence         or guilt          and as to the Special                                 Issues       that you

     6
          are    asked-to         answer       as   to      punishment

     7
          A                 Will my attitude                      about               the    death       penalty

     8
          Q                 Yes.        Effect      the           answers               that       you      give.


      9                                   First       is              innocence                  or      guilt      as     to


     10
          capital      murder           and    as   to       two             Special             Issues      we     talked


     11   about.


     12   A                 It    wouldnt           in      the              guilt          or     innocence         but    I



     13
          certainly         --     I     think      that              --       I       dont        know.          You     are

     14                                          two        questions                       when             answer       the




     --17
          indirectly             answering                                                            you

     15   one.


     16   Q                 When       you    answer

          A                 When        you    answer             a    Special               Issue       question         you

     18   are    answering             another      question                   also..


                                                                      too whats going to happen.




     --24
     19                     You are answering


     20   A                 Pardon

     21   Q                 You        are--answering                 the          result          of    your    answer

     22   A                 Right.


     23   Q                 What        you   are    saying                  is       when       the     question


          A                 So it       is hard not to consider                                  the ramifications
77




     25   of    your    answer.




                                                    LLOYD   E.    BMPS CSR. 149                                             54
                                                         cmACWL COLWr RBOM
                                                          761H    J.DCIAL    dARICT

                                                            MT.   PLEASAW.    MM
 1
                      Let.      me see          if     I       understand you                          correctly                 you

 2
      are telling          me in answering                           Special                  Issue        1    or Issue           2
      you are being asked a factual. question                                                       or to find whether
 3




 4
      certain       facts        exist          now            I      mean the                     jury does          not        give

 5.
      a death       sentence               that       is       something                       that    is       done    by        the.


 6    law    but     it         is     based           on           your                 answers           and    you            know

 7
      obviously       what           you       are     doing              and whether                      it    would           have


 8    the    same effect             on you          you would know what                                   you are          doing

 9    A               Yes.


10    Q               And you are saying that                                            your opinions                that you


11    express       in         your       questionnaire                          and           your        testimony              are


12    going    to    effect           your       answer                 to       those              questions           in       that




--18
13    you    know    the        outcome          of     your             answers

.1    A               More           so    in Number                   Two           than          in Number          One.


15                                        In    Number                One            I    would        be       judging           the


16    extent       that        they proved             beyond                  a reasonable                     doubt       of    the


17    probability               Number          Two        appears                       to    be    my opinion              of


      of    evidence           that       --    in Number Two                            there appears                  I    feel

19    that    there        is        evidence.          that              there                are    --       that     is       more..



20    open    to    opinion. than                fact.


21    Q                  Okay.


22    X                  You     know.


23    Q                   Its your opinion based                                              on    facts


24    A                  Pardon

25    Q                   It    may        be    asking                 your              opinion          based        upon        an




                                                                                                                                    55
                                                     LLOYD     E.   BILLUPS   CSR 149
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                                                             Mt.    RFAWA.    TOMS
           opinion     that      you     have   here            in         --      what      you    have    told   me

      2    is that     your attitude            toward              capital              murder would        effect

       3
           your    answers       to    those questions

       4
                                                               MR.          TOWNSEND                      Im       not




       --6
       5   sure


                                                               MR.         OLD           What you told me was

       7   that    you     were       actually          --          there             were    two    things        you

       8   considered         there would           be          two         answers          to    Special     Issue


       g   1
      10
                                                                THE          POTENTIAL             JUROR          Yes.


      11
           And    Number    Two.


      12   Q               BY     MR.    OLD      And           I   mean the other answer                         that


      13   is    not   directly        asking     for           life             or      death

      14   A               Right.


      15   Q               And     the    opinions               that            you      have     about    capital


      16   punishment       would effect how you answered                                     those questions


      17                                                        MR.         TOWNSEND               Your    Honor      I



      18
           want to object.              I.-think        any         jurors opinion                   is     going to




      --20
      19   effect


                                                                MR.          OLD           Im       going    to    ask


      21
           that the prosecutor              make a specific                              objection     as    set out


      22   by the Rules            hes starting ajury argument.

      23
                                                                 THE         COURT            Sustained.           The


           objection       is     sustained.
      24
...




      25                                 The    State            is        overruled.




                                                                                                                     56
                                                LLOYD    E.   BILLUPS.    CSR.     149

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2THE
1




 3
     opinion          about       the
                                       Its



                                            death
                                                  not      easy




                                                          penalty
                                                                              is


                                                                              POTENTIAL
                                                                                       it



                                                                                   effects          my
                                                                                                        JUROR

                                                                                                          answer
                                                                                                                       My

                                                                                                                       to

4
     Special          Issue      questions

 5                                     Yes.         To Number                     Two.


 6                                                                 THE       COURT              What          about    to


 7   Number       One

 8                                                                 THE      POTENTIAL            JUROR            Number


 g   One    --    Number          One       does     not             ask        me      to     Number         Two     you


10   say     you       know           Is     there             a      mitigating               circumstance              to


11   warrant           a     life           imprisonment                          rather        than          a    death


12   sentence              to     me     you      are          asking             to     make       a    decision        on


13   which       one you         think       is    appropriate                          deciding         between      the


14   type    of       punishment             and        number              one         you    are not deciding


15   on    the    type      of       punishment.


16                                                                 THE      COURT             So are you telling

17   me your view               on    the        death         penalty would                    not      effect       your

18   answer       to       one    but-      it     is      something                    you    would       take       into


19   consideration               in the           answer              to     Number           Two

20                                                                 THE       POTENTIAL             JUROR          Yes.


21                                                                  MR.     OLD          Going back to Number

22   One     the       fact      --     and you asked                      a very           good        question       you

23   asked       if    you       did this          all         in        one       jury meeting.


24                                      You obviously                       know what           the question           one


25   is    and    you      know        if   you      answer                it      a    certain         way    you    then




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                                                          hQ.RFAW        .ro
 1
     have    to answer           Special           Issue             2
2
                                                                THE       POTENTIAL              JUROR            Yes.


 3
     Q                BY        MR.    OLD           Is             that        going       to    take          you    back

 4   and    have     your        opinions            effect                your           answer           to    Special

 5
     Issue    1
 6
     A                I   dont think                 I         understand                 the    question.

 7                                    In     Number                 One         I    will        consider             where


 8   there     is    a    reasonable               doubt             that           there        is    --       beyond     a


 9   reasonable           doubt       that       this           person              would       commit          criminal


10   acts    of     violence          in the        future.                     I   would       make        a decision


11   on     that     question              then          I      will            go    to        Number           Two    and


12   consider        the        evidence           in          deciding              which        punishment              is


13   appropriate.

14   Q                Would         the     fact         that             you        know        just       as    soon as


15   you    answer        Number           One     Yes               that           you    then       answer           Issue


16   2
17   A                   Yes.


18   Q                   Okay.             And       your.                opinions              that.        you       have


19   expressed           about- the.death                      penalty               would        those --             would


20   that     carry       back        --    would              your        opinions             about        the       death


21   penalty        in    any       way     influence                 your           answer           to    Number       One


22   a    little     bit        a     lot

23                                     I    mean         it         doesnt make                  any       difference


24   just would           it    influence


25                                                                  MR.    TOWNSEND                   Your       Honor        I




                                                                                                                          58
                                                 LLOYD   WPS CSR f149
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                                                         76MJUDICIALCOFO    f
1
         want    to    object           hes           badgering-this                           witness             she    has


2
         already       answered            that           question                     for    Mr.         Old      she    has


3        already answered               the         question                    for     the    Court.


4                                                                    THE          COURT                   Sustained         on


5        Special       issue      1.

6                                       The           question                         has     been             asked      and


7        answered.


8                                         It    has been                  37     minutes             I   forgot to give


    g    you    the    30   minute warning.


10
                                                                     MR.         OLD          May we       approach        the


11       bench


12
                                                                      THE        COURT           I       think     it    would


13       be     easier      for   the          juror       to            step out.


14.                                       Maam             would                you step out for a moment


15




16                                         The            following                     occurred               outside     the


17       presence        and      hearing            of    the            potential             juror

18




.1
                                                                         THE      COURT                  Let    the     record


          reflect      that       the      juror          is         not        present         in the           courtroom.
20



21
                   -
                                          Mr.        Old

22
                                                                         MR.     OLD          Your.       Honor         at this


          time after the             --        we    are       ina position                     to        challenge        this
    23



          witness        or    see      if          the    State                agrees         with        us     about     the
    24



    25    challenge.




                                                                                                                             59
                                                      LLOYD    E.    BILLUPS.   CSR.   149
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                                                               MI.   RFAWA.1B    A$
    1                                                                    THE            COURT                   Does       the    State


    2    agree

    3                                                                    MR.            TOWNSEND                No     Your Honor.


    4    I        dont know what                 the    challenge                         is..


    5
                                                                         THE                 COURT                    State           your


    6    challenge.


    7
                                                                         MR.             OLD           I        understand            what


                    want         us     to       do     is                     ahead                 and        make        a    formal
    8    you                                                       go


    .    challenge

1   10
                                                                          THE           COURT                  Im     sorry

                                                                          MR.            OLD          You           said you       would
    11




         give        us       a warning          at    a    certain point
    12



                                                                          THE           COURT              I    usually give you
    13




    14
             about       25     or 30    minutes warning so you know where                                                      you    are

         when        the        State       is   on    the         beginning                         portion          of    voir       dire
    15



         when        I    give        the    State a warning                             its         at        25   or 30       minutes
    16


             if    the     State        and      Defense           wish to excuse                               a    juror for          any
    17



             reason        if    you    dont          like         the         way they wear                         their ties or
    18



             if            dont        -like      mustaches                    for .whateve                         reason       you    can
                   you


             agree       to get rid              of    them.
    20


                                                 Any warning                        I     give        for           time is to help
    21



                     all        as    far.    as      challenge                     for          cause.               If    you       think
    22       you

                                 is   totally          and     completely                            disqualified                stop    me
    23       somebody

             at    the     point        you      disqualify them                                if    you are not certain
    24


             I     think        we    need    to finish voir dire.
    25




                                                                                                                                         60
                                                           LLOYD   E.    BILLUPS.       CSR.   149
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                                                               76MM      AEK   K OgiRIQ
                                                                   Ai.   REALW.         MM
    --3                                                                 OLD
    1                                                          MR.                       I   thought                 that when


    2    you    gave    me my warning


                                                               THE COURT                     That           I    was giving


    4    a    signal    or    message

    5                                  No.         I     was         not.                The         only        thing         the


    6    warning       means       is when    I    do it            for        the.      State             guys           if   you

         all    want     to    confer        and       excuse            this            juror             let       me    know

         when    I     give    a   warning         to         the       Defense                its          just          so   you
    8.


         will    know about           how much time you have                                 used and where                    you
     9


         are.
    10



                                                               MR.       TOWNSEND                      I   wasnt clear
    11




    12
         on    that     either.



    13
                                                               THE       COURT                   Im        sorry.


    14
                                       I     dont             care         whether                    the        person          is


    15   qualified       or disqualified                      in the           first           25 or            30    minutes

    16   either side that doesnt                        like         her        if       they want to confer


    17
         with     the    other        side    and         you           two      agree                to    excuse             that


    18
         juror         for     any-    reason            whatever                    I       will.              accept          the.



    19   agreement..


    20                                                          MR.       TOWNS          END               If    we       are    in


    21
         the    middle        of   this    process              and      we      feel                that we          have      got


    22
         a     challenge       for     cause           and.     its            just          a       lay-down             do    you

         want us to go ahead and ask                            to approach                      the       bench          at that
    23



    24
         time
A




    25
                                                                THE      COURT                   I    think so or just




                                                                                                                                 61
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                                                                                                                                         11
                                                                                                                                                  .
                                                                                                                                              1




1
      say       Judge theres                     something                   that we need to take                             up out

2     of the         jurors presence                             thats            if    you are really sure.

3                                           Right       now           in this case                          I    do not believe


4     she       is    disqualified.

5                                                                      MR.       OLD                I       was       not    --   when


6     you       gave       me    my warning              I       did not               --       I       thought             you   were


7     trying          to    tell       me       something                   perhaps         I           didnt           know.


8                                                                      THE       COURT                  I       apologize.             Im

 9    sorry.              That    was       no    my intention.                         I       didnt want you                         to



10
      get       up to your            50 minutes                 and say               Judge                     you never         told


      me    I    had       used       so    much       time.
11




                                            I    was     just trying                    to let                   you know         where
12




13
      we    stand.


14




15                                          Off        the            record         discussion.


16



17                                          The following occurred                                              in the      presence


18
      and hearing of the.                        potential                    juror                                                _




19.




20
                                                                        THE      COURT                          Okay.       You        may


21
      proceed


22
                                                                        MR.         OLD                         Ms.     Henry.          if


      selected             as     a    juror       in        this             case      you             will          be    asked       to
23


      take           an    oath       and        this        oath             provides                          requires      you       to
24



25
      affirm              that        you        and     each               of    you                   referring             to       the




                                                                                                                                        62
                                                       LLOYD    E. UPS CSR 149
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                                                             aFICMCMeresoeM
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      I   L   I
                  I




                      1
                           entire          panel.


                      2                                                                  THE         POTENTIAL              JUROR            Yes.


                                                 BY                              Do                                                     the
F.a

                      3    Q                               MR.        OLD                     solemnly               swear        in           case

                      4    The       State       of    Texas          against            the        Defendant               you will         a true


                       5   .verdic             render        according            to          the.      law      and the          evidence          so


                       6   help       you       God.

                       7                                          And basically                     I   mean you are telling                    the.



                       g   Court          by    your        oath       that      you          will          render          a    true    verdict


                           according             to        the    law      and      the        evidence.
                       g




                      10                                          Okay.          In        our          system         the       way    we    try    a


                           case        His       Honor           is   the    exclusive                     judge       of.the          law of   the
                      11




                           case            at    the        conclusion.              of         a       trial          or       conclusion          of
                      12




                      13
                           evidence              and       before          you      are             sent      to       the       jury    room       to


                      14   deliberate the                    Court          will         give           you      a   written           charge       as


                           to       the    law        of    the case             as       to what                law    applies.
                      15




                      16
                           A                     Okay.


 _.                   17   Q                      Now your instruction                                     the instruction                implies




                      the--law.-10.
                           you will             render           a true       verdict                   according            to
                      18




                                                                  Now.        as         to-        the       evidence             that        comes


                           before           you       the        Court      may          instruct                you    how       you     may       use
                      20



                            certain             evidence              it    may.tell                you       that      this       evidence          is
                      21



                            not      submitted-.to                you      for      proof of                a particular                thing        it
                      22



                            may       limit       its       use       but    as     to        determining the credibility
                      23


                               of    the       evidence-          and      that          is    what         is       true       and     not    true
                      24


                               the    jury        is       the        exclusive               judge           of     the        facts     of    this
                      25




                                                                                                                                                     63
                                                                            LLOYD   E.   BILLUPS.   CSR.   149
                                                                                 amaacaurareý

                                                                                    W.aD       ga.mw
    1
             case.


    2                                     I     mean             when.            a      word        has       a     specific

    3
             meaning        special       legal          meaning the Court                            may          give    you     a


    4        definition       of    it     and      when              he       instructs             you       that       aword

    .        means   a     particular thing                 then             your duty               as    a       juror is      to


     6       use     the     Courts             definition                         and         not         the           ordinary


     7
             definition       or your           definition.


     8
             A               Yes.


     9       Q               There        is    a       sheet            before               you     it       starts           All

             persons       are presumed             to      be         innocent.                     Indicating
    10


             A               Yes.
    11




             Q               Okay.        About          the middle of                        that page              I    believe
    12




    13
             its     the    second       full       paragraph                         The prosecution                     has    the


    14
             burden         that    is    the legal definition                                 of    the word beyond


    15
             a reasonable          doubt            I    will           give          you a moment to read it.


    16       Indicating

i


    17
             A               This        one    paragraph                    here              Indicating

             Q               Actually            there                  to        the          end        of        the     page.
    .1



                 indicating


    20
             A               Okay.


    21
             Q               Okay.            That        is          the        legal         instruction                that    as



    22       your oath implied                  you will                render you.will take the law

             from the       Court.
    23


                                              As to that particular definition                                            can .yo
                                                                                                                                       -




    24



             accept        that    definition                    the           word           beyond           a    reasonable
    25




                                                                                                                                  64
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         I                                                      MHJUoicuLoaneer

                                                                W.    FLEMS.W.   TD
1    doubt       or   the words              beyond                  a      reasonable                   doubt

2    A                This        comes            from              a       law                Is       this    --    whose


3    writing whose               words         are          these                    Indicating

4                                                                  THE               COURT                  Those            are.


5.   instructions            that are given                          in all           criminal cases                   those


6    instructions            have been mandated                                 by     the Court            of   Criminal


 7   Appeals       for hundreds               --       I    wont              say      hundreds                  for    many.


 8   years       we   had     no    definition                       on      reasonable                   doubt         a few



 9   years    ago      the       Court came                   out           with       a        definition             thats

     what    they     say the           definition                    is       so that              is   the law in the
10



     State    of      Texas       at        this       point.
11



                                                                    THE         POTENTIAL                 JUROR          Yes.
12




13
     I   could     accept         it.


14                                                                  MR.           OLD                Does        your        own


15   definition         of       beyond            a       reasonable doubt                               conflict       with.


16   the    law

17                                                                  THE        POTENTIAL                 JUROR         No.


18   Q                 .BY.MR           OLD                Okay..             Le.ts.assume                 that it       did

19   okay     could         you    lay        aside your                       own         definition            of    a word

20   and     use      the    Courts                definition                        of        it    in reaching         your




--22
21   own


     A                 Are         we         talking                       about               reasonable              doubt


     definition             or     just       any           definition
23


                                        I     mean                 we          are             talking      -about           any
24



25   definition             obviously              I       guess since                     I    dont disagree with



                                                                                                                               65
                                                   LLOYD     E.    BILLUPS   CSR.    149
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                                                             w. REAWi.       mw
1    this    one       I        wouldnt                       have           a     problem         using the               Courts

2    definition             of       a       term that conflicted                                 with          my own.

                                                                                   Im




 --7
3                                                I       feel        like                  trying to give                  all    the

4    right answers but                               I    am not.


 5   Q                  Im            not                trying              to     get     you       to    give       right          or

 6   wrong       answers                 I       want             your

     A                  Well                 I       realize                 that.


 8   Q                  --          your mental thoughts.


 g
     A                  Thats                    how          I     feel.             If    I    was       on    the     --      if     I




--14
10
     was    on    the       jury             that                 you        know          thats       the       rules to             be


11
     fair    and       impartial                          itdoesnt matter what my definition

12
     of    something                is           if       I       have        to    interpret              and use         the        law

     in this       I    have             to use what                          the     law                  so
13                                                                                              says


     Q                  Let me go to another possibility that you could


15
     be    charged              I    think                Mr.        Townsend              mentioned             it   to    you.


16
     A                  Yes.


17
     Q                  That              would                be        in       the      event       the        party       being

     tried has made.a                            statement                    or confession.
18




19
     A                  Yes.


                           If            that                 was             the          result           of        custodial.
20



21
     interrogation                       then             the        law          says      that       the        jury      has        to


     first       find it              has .bee                     voluntarily made.
22


                                                 And              the            Court          will       give        you            the
23


     requirements                    of          voluntary                          which        is    a     definition                of
24



25   voluntary                      it       will             tell       you to the effect                      that in order




                                                                                                                                       66
                                                               LLOYD    E.   BLWPS CSR 149

                                                                     76TH    ADcA CO MM
                                                                        W. RFAW4.   TONE
1
     for    that        statement           to        have                 been           voluntary         that      the


     Miranda    Warnings              must          have             been            given       at    a   particular

3    time.


4    A              Yes.


5    Q              He        will    tell          you             that         the      statement         --   if   the


6    statement was             the    subject                  of        custodial              interrogation          or


7    its    functional          equivalent                          you         know         that     A     B C       and


     D




--13
g
           had to be          done.


g
     A                  Yes.


10
                                     Do         I         need                   to        define          custodial


11   interrogation              before          we        go          any            further




--16
12   Q                  Its      one       of       those                 words            Im       just    saying

     lets     say       the    Court tells                 you gives you                          a definition of


14   that.


15   A                  And    if    we     have          to          throw out                 the


     Q                  You     get       to        the             point            that       you    have      decided


17   because       --    what        is    your --                  if      I        asked      you what      the     word


18   voluntarily. -its ordinary meaning was what                                                           would. your


19
     answer    be

20   A                  If     you         are          asking                       me    the        definition        of


21   voluntary

22   Q                  Yes.         What.does                      voluntary                   mean.to     you

23   A                  Of     my own           choice                    of-my           own    choosing.

24   Q                  Your         own    choice

25                                    Now lets                        say that            the legal definition




                                                                                                                        67
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                                                        W.     P.   AWQ.1E      A4
    1    or    the    requirement                    of    voluntariness                          is       that       the    person

    2    who     made       the           statement                had          to         have        been          told    by     an


    3    official           that          he      had          the          right           to         have          an   attorney

    4    present       or he           had       the right to stop the                                     interrogation             at


    5    any    time       andhe           found          out             he    just        flat           wasnt told that

    6    but    after having                 read         the        statement                    which          I    mean    it    has


    7
         been        read        to    you           its           in          evidence                you       are      deciding


    8
         whether       its            voluntary                or not.


         A                   Yes.
     9


j        Q                   That in your mind beyond                                       a reasonable doubt                      you
    10


         believe        that          statement                or confession                          to    be       true.
    11




                                               The        Court            then            instructs             you      and      says
    12



         if    you     find          that      not        to       be      a    voluntary                  statement          do not
    13


         consider           it       as   any        evidence.
    14



         A                   Yes.
    15


         Q                   I        hope       my question                     is        obvious               after       having
    16



         believing               beyond          a    reasonable                     doubt             that          something       is
    17



         true.       can you          lay that             aside            and       exclude              it    from the rest
    18



         of     the        evidence.              and          make            your          finding                 on   whatever
    19


         evidence           there          is.    exists             for        that
    20


         A                       I   dont-.mean                to be argumentative                               but      something
    21




    22
         wouldnt            be        produced                 I      mean             is        it        possible          that    we


         could        have            heard enough                        evidence               to        decide         something
    23


         beyond        a     reasonable                   doubt            and       then         it       be    thrown       out     or
    24

          is    it    not    that            you      know                you would              make        those decisions
    25




                                                                                                                                      68
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                                                                OFFIMICOURF           men
                                                                   76M AINCUL    OISI
                                                                    na.   RFASW.TDL3
    1
         before         you     went         further                  with               listening                     to        certain

    2    evidence        or viewing              evidence

    3    Q                When you say you would                                     make those decisions

    4    are you        referring to the                       jury

    .    A                 The jury.

                                           Because                                  mean                                    read




    --8
    6                                                                  I                               if.             I                      a




    --9
    7
         statement


         Q                 I    mean

         A                 --       a    piece       of        paper                if       I    just            read           --    if     I




    10   just read his statement                          I     dont.know                     what           I    have to judge


         beyond.     a    reasonable                 doubt            that          is        true           just           by    simply
    11




         reading         that       piece      of     paper.
    12




    13
         Q                 You          are convinced                      that        is        true

    14
         A                 How       would       I    be convinced                        that          it        was       true just


    15   by    reading         it

    16   Q                 I    dont         know.               Im             asking           you         to        assume              that


1

    17   you     are     but     I      mean     you          can          be       in      that         position                 --        the


    18   j-ury    is.    the     exclusive                judge.               of      the       credibility                      of        the


    19   evidence          there is nothing                          that says in the                              instructions


    20   if    the-witness-is                fidgety                 you        are       not      to            believe              it     if


    21   hes argumentative                     you        are not                   to    believe                 it        I    mean        it


    22   is    your       subjective             intent                    your          subjective                         you        know


    23   mental deliberation                         that        tells              you          how     much              to    believe


    24   a    witness           you      may     believe                   a    witness            on            one       issue            you


    25   may say         hes         lying     out        his          teeth             on      another               one.




                                                      LLOYD     E.   BILLUPS.   CSR.   149                                                   69

                                                                           a
                                                              CRCALCOWREKWU
                                                               mm.i     orzmci
                                                                M RFwwrt.mw
--3
                                                                                                                                              1

                                                                                                                                      1




1     A                    Yes.            Yes.


2     Q                    And        I    mean there                   is       no


      A                    But        had       to    throw out                   evidence              that.I       felt       was


4     true

5     Q                     Yeah.


6     A                     And       said       that        You cant consider                                 that

 7    Q                     Yeah.           You cant consider it                                        forget      about       it.


8     strike          it            from    your            mind             and             strike       it       from     your


 9
      deliberation.


10    A                     I       would       do it.


11
      Q                     You would                do     it

12
                                                                        THE        COURT                One    minute.


13
                                                                        MR.        OLD             Im     asking      you the


14    question             is       Yes         or        No               can you            do    that

15
                                                                           MR.        TOWNSEND                 Your       Honor


16    hes badgering                       this        juror.


17
                                                                           THE     COURT                Overruled.


18
                                                                           MR         OLD               Your       -Honor        Im

19.   going           to.           object           .t      his.            making                his        objection              of.



20    badgering                       I    do    not       think             there            is    a    legal       objection


21
      to that.

                                                                           THE      COURT               Overruled.
22


                                                                           THE        POTENTIAL               JUROR         I    can
23


      do that.                  I    can do that.                      I     think I           would          be    lying       if        I
24



25
          said   it    wouldnt                  be tough               to.--             to    say okay              you know



                                                                                                                                     70
                                                          LLOYD   E.   BLLUPS.    CSR 149
                                                             CFFC      KCCM      RWCR   er

                                                              76MNalacIfr          i1a

                                                                       .R wR.mw
1    but then          --       and    then say          No             we      cant consider                      that    you

2
     know      I       cant           consider            that                    it     would          probably          be     a


3    constant           conscious                 effort             to         suppress            what           you    have

4    already seen or heard.

.                                                                   MR.         OLD               Let     me       turn        the


 6   question          around on             you would the                             fact       that when         you ere


 7   considering the                    issue       of whether                        or not       the    statement             is


 8   voluntary          would the                 fact      that you believed                            it    to be true


 9   beyond        a        reasonable              doubt              influence                   your       process.          in



10   determining voluntary                          or        involuntary

                                                                    THE         POTENTIAL               JUROR             If     I




--16
11




12
     were     being             asked       to    apply            the        law        and       judge       whether          it


     was voluntary                    and   --     and      admissable                       is    that       what we          are
13




--17
14   saying        we           are    judging           it        to        be        admissable             so   we    would

     have     to   I        guess          answer      certain                  questions               about
15



     Q                      BY        MR.    OLD          Let         me




we.--18
     A                      The       way

     Q                      I        think        we        are              on         the        same        frequency


     adinissability                   is    .principAll the                            function          of    the       Court.
19




20
     Now      what              you        have     in        this             case          is     a     statement             is


     admissable                 if    its         voluntarily                     made        as    the       law    defines
21




22
     voluntary.

                                            As we talked about                               earlier the             jury is
23


     the fact          finders voluntariness Is                                         a fact       issue          its        not
24



25
     a   --   in the case                   Im    talking              about            a    legal issue that                  His




                                                                                                                                71
                                                    LLOYD     E.   BILLUPS   CSR.      149

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                                                              W. RFASW.      TEXAS
                                                                                                                                           q   1




1    Honor       would      be       responsible                        for.


2    A                    Right.


3    Q                    Okay.           Now         I       mean          its               a    fact    issue          and    its

4    actually             the    juror          --        the           jurys determination                                 first

5    if    it    was      voluntary                 and        then         secondly                 whether             its     true


6    or     not       whether             it    would                  be     considered                  as    evidence            I




7    mean --          I   mean the              voluntariness                              is      determined             by facts


8
     which you            have       to decide                    and       then           the weight               to    be given


     it     as    evidence             if       any               is     factually                   determined             by    the




--11
 9



10
     jury        so   I   mean

     A                     Those      are           two        separate                    issues.


     Q                     When you             asked             if     is         it     admissable                I    mean the
12



     ultimate issue on it                           belongs                 to the juror as to voluntary
13




--18
14
     and        the    Court         as        to    the           other               issues what                  weight        you


15
     should give                it    do you                  still           think               you could          go through


16
     both thought               processes                 in this case                            where   you believe             the


17
     document             to be       true and                    correct                without


     A                     Yes.


19                                         And            I       think                  it        goes        back        to     our


     discussion             on       these           Special                Issue                 questions              there    are
20



      two       different            issues that                        you        are        asking       me there.
21



                                           Could              I     --        you          are       asking         me     could       I
22


      hear        evidence            and           determine                      evidence               or    I        guess    the
23


      statement             to        be            voluntary                          based         on        the        evidence
24



25    presented             not       based          on           what            it       said



                                                                                                                                    72
                                                      LLOYD        E.   BMPS       CSR 149
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                                                                   hi RFAUti       row
1                    Thats            correct.


2     A              And       I   believe           I         could.


3     Q              When          you     say       based                 on     what      it     said thats

4     where    you   believe             its      true

5..   A               I       believe          that              I       could         just       the   statement


 6    voluntary       or       not       based           on          evidence              presented       and    not


      based    on    what       the      statement                       says     and my          feelings      about


      what    it    says.
 8


      Q               I       notice           that            you         have        a    degree        from    the
 9



      University          of    Texas
10



      A               Yes.
11




      Q               And       this is what                          a psychology                degree
12



      A               It       is..
13




14
                                                                  THE       COURT           Time has expired


      Mr.    Old.
15



                                      Do   -



                                               you       have              some      particular         area     that
16




      you    need to go            into        with        this juror
17




18
                                                                  MR.            OLD          I    have    several


19    remaninq            I    would       request                   additional             .time                       ..




20
                                                                     THE     COURT               Maam     you    need


21
      to    step    out       fora       moment.                     I     need      to     have    a   conference


22
      with    the    lawyers.


23



24                                       The         following                    occurred          outside       the



25    presence       and       hearing          of       the          potential             juror


                                                                                                                   73
                                                LLOYD     E.    BILLUPS    CSR 149
                                                                 camr     mom
                                                         7614    CiCULI     CT

                                                         Mf.REAW9.M          S
                1                                                     THE        COURT            For      the    record

-   - -   --
               -2-           it-end týfre                    whatarea-
                     you

                you-ne-e-d-to-cover-arid--3
                   how much time you need                for           each.


                4                                                      MR.       OLD         Your Honor               I    need


                5    to finish covering           really some background                              material in her


                .    questionnaire          I   am groping               about       what         I   have-asked               her


                7
                     about    and   what    I   have    not          asked         her    about            I   need       to    go


                     over    the    Witness     List    with            her        and   I   probably            have          one
                .


                     more question         as   to   death           penalty.
                9



               tU
                                                                       THE          COURT                      How         much


                     additional       time are you           asking              for
               11




                                                Do     you           want          to     ask         an       additional
                12



                     question       on    death      penalty                you     want          her      to    read          the
                13



                14
                     Witness       List   and you      said           some background

                15
                                                                       MR.         OLD       Her      background.


                                                Right        now            my      next          question           is        her
                16



                     knowledge       as   to her degreed                  area      and      if       someone        else       in
                17



                     that areatestified              the way           it       would effect             the evidence..
                18



                                                                       THE       COURT.           How much        time are
                t9



                20   you    requesting

                                                                        MR.        OLD       The      witness        answers
                21
                               -




                     questions       and gives         interesting                  answers.
                22


                                                                        THE        COURT           She     does      that.
                23


                                                                        MR.        OLD            I    would         hope       15
                24


                     minutes.
                25




                                                                                                                                74
                                                        LLOYD   E.   CSR 149
                                                                     BILLUPS.

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                                                                h    .IEAWY.TEXA
        1                                                                  THE        COURT                 Mr.       Townsend

 ---   -2-                        - ---              -----M                            TOWNSENff.-                     First Your

        3        Honor     I    object    to him going                        back              into    the       death       penalty


        4        with    her      he    had    plenty              of         opportunity                        to    go    into        the


        5        death     penalty            he        spent              considerable                           time        on    that


        6        already.        Now    hes         requesting                   additional                      time to go into


        7
                 the    death    penalty.               I    do    object                  to     that.


                                                                           THE             COURT                  What        specific
        8



                                 do you       have          on     death              penalty               or        specific          area
            9
                 question

                 of    inquiry
ji      10


                                                                           MR.         OLD         Your Honor                     back       to
        11




                 what    she talked           about          as    to the effect                            of    her opinion                on
        12



                 the     death    penalty           as        to       the                 --          as        to    Issue       1. on
        13



                 exhibit
        14



                                                                           THE             COURT             I    think       that       has
        15



                 been    thoroughly covered.
        16


                                               First               neither                  side        has           the    burden          of
            17



                 proof     on-Number          Two           and    its               just         an    absolute              out       if     a
            18



                  juror wants          itand        I       think          an       opinion as to whether                               life
            19



                  is    more     appropriate                 or      death                 is     more            appropriate                 on.
            20


                  answering       two     I    dont think                       that            you can           say that         it     can
            21



                  or    cant      effect       your           answer             because                Number              Two    is        out
            22


                  therewith        no burden                  its             just          an    escape              valve       for        the
            23


                  juror.
            24


                                                I    believe               that area has been covered                                        and
            25




                                                                                                                                              75
                                                             LLOYD    E.   BILLUPS    CSR 149
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                                                                     76M AX   CUL    01S   OU
                                                                     W.    RFASMQ.    MM
1
     with    the       objection                made    bythe State              I    would          not    allow

2
     you    to    go     back     into it.

3                                                           MR.      OLD         Wo       would        liko       to

4.   make    a    bill      on    it.


5                                                            THE COURT           Bills will               be made


 6   at    the    end      of    voir dire.


 7                                      Bring her            back.


 8                                                           MR.     TOWNSEND                 Your    Honor        I



     have        --    I    have            a    further          objection               I     think       if     I
 9


     understand what                  he was           sa ying     he    was    wanting             to go into
10


     areas       of   her degrees                in.psychology            or something               like that
11




     and    whether             she     would          consider          that        as       evidence           she
12



     could       consider         psychological                   testimony and that                      sort of
13




14
     thing       as.evidence.



15
                                        Hes        already          gone       into       the        area        you


16
     know         Special         Issue            1        Special            Issue          2      will        you

     consider          these      type           things      of    evidence              will       you    give
17



     fair        consideration                    to       this.         will         you         give       fair
18



19   consideration               tothat

                                        I       dont       see     any    reason          to    go    back       and
20


     re-plow that               ground           again.
21



                                                             THE     COURT           I    dont think              he
22


     has     gone        into     what           her      particular           degree          or    education
23


     would        do       as    far        as     her      giving        credibility                to     other
24


     witnesses.
25




                                                                                                                  76
                                                  LLOYD   E. BILIUPS CSR 149
                                                       0FFXMC0wFR9MXM
1
                                       And if         I     understand                  you           Mr.        Old thats

2     what    you want           to    get      into

3                                                                   MR.       OLD        Yes Your                     Honor.


4                                                                   THE       COURT.          That objection                       is


 5    overruled        and       I    will      give               you      15       minutes.


 6                                                                  MR.       OLD        Thank                 you.


 7                                                                  THE       COURT           I       also would                 like


 8    to explain           a   little          more to the                      juror how                 she    would       come


 9
      about        making        the      decision                 on      voluntary                  statement             since


10
      that     seems           to     be       paramount                     in       your        mind                just        the


11
      semantics        --      not        semantics actually the way                                                  it    works


12
      and     what     I       propose          to        do          is       tell      her           if        there       is     a


13
      statement made                  thats          in a trial                      she will               be    instructed

      --     and    they       are     in     issue          --         that         she will               be    instructed
14




15
      to    disregard until                    number               one          she    finds             it     true beyond


16    a     reasonable           doubt         and          number               two     she              finds       it    to     be


17    voluntary            beyond         a    reasonable                      doubt         and          that        is    not     a


18    separate        issue            it.s         just           something            that              will     be      in.    the

10-   ..change


20                                        Does      either                side        have    a problem with me


21    explaining           that        procedure                   to      her                    S




22                                                                   MR.       OLD           No           Your        Honor.


23                                                                   MR.      TOWNSEND                    No     Your Honor.


24
                                                                     THE        COURT                 She        just      really


25
       is    caught         up       in       how     all            this            works            I        think       thats



                                                                                                                                   77
                                                    LLOYD  E. BILLUPS. CSR 149
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                                                            W. PJAIW.       TOCAS
1
      keeping       her       from concentrating                       on     it.


2




3                                    Off.the            record                discussion.


4



5
                                                             THE        COURT                Bring          in        Ms.


6     Henry.


7
                                     I    dont          think           we      are       going        to   get        to


      both    of    the       other two         today               which           one    do you       all       want
8



 9
      and     well        I    guess      we    need          to. go          in order.


                                                                                                                 --    do
                                     Do     you want                to let          the    policeman
10



      you    all    want       to talk         to    the        policeman
11




                                                              MR.      TOWNSEND              Mr.       Alexander
12



      we    are apparently               not    going           to go to             him.
13



                                                              THE      COURT              Do you want to let
14



      him go or do you               want       to      talk           to     him
15


                                                              MR.       TOWNSEND              I   want      to talk
16


      to    him at        some     point       after          Ms.       Henry.
17



                                                              THE       COURT              You.   can    tell         Mr.
18.



      Alexander            tell      him we are not going to get to him today
19


      and    see     if       he   can    be    here           in      the      morning           at    930 Im
20



21
      sure     he   can        hes_a        City policeman..


                                                               THE          BAILIFF               Tomorrow              at
22


       930
23


                                                               THE      COURT              Hes     not working
24


       nights        you       can   tell      him      hes            free         to go     and be back               at
25




                                                                                                                        78
                                                LLOYD   E.   BIU.UPS   CSR 149
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                                                        AW.MM.1UP3
     930
 1

             in the       morning.and bring                               Ms.      Henry             back          in.


                                  I       will      not              take          my explanation                          out    of

3
     your    15   minutes Mr.Old.

 4




.
                                  The following occurred                                                 in the          presence

 6
     and hearing          of    the       potential                  juror
 7




 8
                                                               THE COURT                        You may be seated

 9   maam.

10                                There is               something                     I    want to explain to

11
     you    and    Mr.    Old has          a    couple               more questiois                                for    you but

12
     you    seem    to.   be     concerned               over              how      this             statement                 issue

13
     might come          about    in       a    trial               if      it     does.


14
                                  Now          first             I    want you to understand that

15
     when    we     are    discussing                principles                            of        law           we    are     not


16
     particularly              talking          about                this          case                  we    are        talking




Yes-20
17   about    the    trial       of       a murder case                       or a capital                         murder case




giving.-19                example we .ar
18   or    whatever


                                                               THE.         POTENTIAL                     JUROR

                                                               THE          COURT                   If    a    statement           is


21   made     by     the        person           charged                     during                 -the           trial         that


.2   statement       will-       be       offered                the          State             has           to    go    through

23   proving        certain           things         and              then          if          I        find           that     its

24   admissable           then        I    admit               it         then         you               may       hear        other


25   evidence       during        the          trial            that             may       create                  an    issue     of




                                                 LLOYD   E.    BILLUPS     CSR. f149                                               79
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                                                         MT.   REA3ANT.   TOM
1
         fact      as     to    whether       or       not       it        was           voluntary.

                                         To       be voluntary                             like         Mr.    Old told              you
3
         you have          to give      Miranda               Warnings                        those are the rights

4
         you       have    the       right to           an     attorney                        you       have        a   right        to

5
         have       an    attorney-present                       at         all           questions                 you        have     a.



6
         right to terminate                   the        questioning                               if    you    cant           afford


7        a    lawyer       well provide                  one.


8                                                                       THE        POTENTIAL                  JUROR            Yes.


    9                                                                   THE        COURT                So     for       instance


10
         if    a    statement         was     given by a person                                    yet that          person was


         never       told he had              a    right          to a              lawyer               even       though           that
Ti




12       statement              is    absolutely                 true                   you        may        find       it     to     be


13       absolutely             true.


14                                                                      THE         POTENTIAL                 JUROR            Yes.


15                                                                      THE        COURT                Its not something

16       you        can        consider           and      should                       not        have        been       admitted


17       because          it    was     not       voluntary.


18                                          Voluntary                              means                no     coercion                no


.1       promsesthreats                                 and             all         the            proper       warnings.             are


20       given.


21
                                            Sowhat               you will                     do        you    will           have    the


22        evidence             before     you          and-    we          have               to     assume         that        it    has


23        been admitted               and then           lets assume that                                    some    issue comes


    24    up       over    the fact               as    to       whether                      certain          warnings              were


    25    given          or maybe        theres               some            testimony                      about       a-guy        was




                                                                                                                                        80
                                                         LLOYD    E.    BILLUPS     CSR 149
                                                              0FR COURT            agoaier

                                                                 76TH       C3Ai   DZ    Cf

                                                                  MT.   REAMNI.    TDM
1
     kept    in      a.    room       for       48    hours                 without                     sleep        and        finally

2
     wrote      a    statemen               so       he    could                go                 o     ris      ce   r              et

3
     assume you            heard some evidence                                  such               as    that.          That         could

4
     cause          as    we    say        raise a             fact                 issue            as      to whether               its

5
     voluntary.

6                                      In       the       Courts charge                                   you will              --     the

7    Courts charge                    is    a    document                       is        anywhere                from eight               to.



8    15    or   20       pages        long       to    define                    all           the        legal         terms          that


 9   differ          from        your        normal                  usage                     it        will          define             the


10   elements             of     the        offense                       it         will               kind        of          be     your


11   guideline                 one    of        the       things                          if        a        statement               is     in


12   evidence             and    theres              some            question                       as       to    whether             its

13   voluntary            one    of the         instructions                              will          be you cannot                  base


14
     your       verdict          on        the       statement                       unless                   once         it    becomes

15   -- unless you believe                           beyond                a reasonable                           doubt         that      the


16   statement             is    true       and you                   believe                       beyond         a       reasonable

17   doubt      that       its        voluntary                you             dont stop and analyze the

18   evidence- every                 time its.            put             in         you listen to everything

19   that       happens         in     a    trial          you               can              go    back       to deliberate


20   you    refer to            the.       Courts          charge.


21                                                                   THE            POTENTIAL                     JUROR              Yes.


.2                                                                    THE            COURT                   And       if       there       is.



23   any     evidence                like       that       and                 theres                    a     question              as     to


24   whether             its     voluntary                then              you               are       instructed                   number


25    one you cant consider                               it         unless                   two       things occur                      what




                                                      LLOYD    E.    BILLUPS        CSR.      149                                           81
                                                          OFM        AL   caurt RBORIHI

                                                           76TH      ADICUL     r   su   cr

                                                               Mt.   RE        M.1DNS
          has         be believed
      1

                 to                          by    you       has              to        be        voluntary.

                                                                  THE POTENTIAr                           JUROR          --Yes


      3
                                                                  THE            COURT                  Is    that       --       does

      4
          that    clear        up any of your confusion                                           as   to how you            get        to

      5
          that    issue

      6
                                                                  THE           POTENTIAL                 JUROR          I       think

      7
          so.         And      its      a    decision                       that              I     could      make              as     an


      8   individual

      9                                                            THE          COURT                  Well    it    takes all


     10   of    you   to      decide.


     11                                                            THE              POTENTIAL.                JUROR                   Oh

     12   okay.


     13                                                            THE.         COURT                  Again     the verdict


     14   has.to      be      unanimous       and if          some of you                              believe      it   or some


     15   of    you       dont you      are       going to                     have               to decide         whether             to


     16   disregard           it-or    not.


     17                                                            THE            POTENTIAL                  JUROR           Yes.


     18                                                            THE            COURT                 All    right.                 Now.


     19   there       s   .   couple    of        other areas                           we.       are gbin4         to go Into

     20   that doesnt have anything                               to do with                        this so do you have


     21   anymore          questions-.-about             how we get                           to       that issue or what


     22   the    effect        of    that     type       of            anissue                     is

     23                                                            THE            POTENTIAL               JUROR              I    don    t


r.   24   think       so.



     25                                     But     to      clarify                           are we          talking             about




                                                    LLOYD   E.    BU   W PS M.           149                                            82
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                                                            MT.   AFAW.         MDMAS
1
          --    Im    not    trying to make                     an         issue of this                       either.


                                                                      THE            COURT           I understand.

 3
                                                                       THE           POTENTIAL             JUROR          Are we

 4
          talking      about          the written            statement                          we are talking                about




 --7
 5        a    written       statement            or recorded                           statement          that         was    made

 6        when    a   person

                                                                       THE           COURT              For    purposes          of.



 8
      -


          hi-s   questions             yes       we    are       assuming --                        lets use the word

 9        confession                   we       are     assuming                        that        a    confession             was


10        given.


11.                                                                    THE           POTENTIAL.            JUROR          Yes.


12                                                                     THE           COURT           And then the              jury


13        finds       that       --    lets make                it         real               simple.lets                say    the


14        Sheriff        gets         up    and       testifies                         You         know       I    forgot       to


15        tell     him      he    had       a   right        to           a          lawyer         before         he    gave    me


16        that    confession.


 17                                                                    THE            POTENTIAL               JUROR            Yes

-18       Sir.


 19                                                                    THE           COURT              And    you      have    got

20        a     confession            that        you     believe                        and        then      you       have    the


-21       Sheriff         saying-.-you                  know                   I              didnt        give         him     the


 22       warnings               so    -its       absolutely                          not       voluntary            under      the


 23       law.


 24                                                                    THE           POTENTIAL             JUROR          Yes.


 25                                                                     THE COURT                    And you would have




                                                        LLOYD    E.    81LLUPS       CSR.     149                                 83
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                                                                76TH   uusCUI    I   SIRICI

                                                                 W.    RF.ASANT.TFXAS
     1
          to   set    it    aside.not              consider                    it.


     2                                   Could you                     do      it

     3                                                                 THE       POTENTIAL              JUROR           I    could


     4    do it.

     5                                                                 THE            COURT                 Do     you        have


     6
          anymore         questions         about           that            area.before                  we      move       on

     7                                                                 THE       POTENTIAL               JUROR              No.


     8                                                                 THE       COURT                 Okay.       Mr.       Old.


     9                                                                 MR.            OLD          I    was      asking           you


..   10
          about       your       degree       from          the          University                    of     Texas          it    is



     11   possible         in     a   trial        of       this            kind           or     any    criminal            trial



     12
          that       as    to    some    issues             and         in       this            case    perhaps            issues



     13
          Number One            and Number Two                     that           you        have       been      over       that

     14   you      might         hear       some         psychological                             testimony                from     a


     15   psychiatrist or a psychologist.


     16
                                                                       THE            POTENTIAL          JUROR              Yes.


     17   Q                     BY    MR.   OLD CONTINUING                                 VOIR DIRE EXAMINATION


     18                                     That        is        a      field              that        you      have        expert


          ara-nny           in

     20   A                     No.


     21    Q          -         Do    you have          a    degree

     22    A                    Yeah.


     23                         Okay.         Do    you            specialize                      in    any      particular


     24    field


     25    A                    No.     Its        a Bachelor                         of    Arts in Psychology.




                                                                                                                                     84
                                                        LLOYD     E.   BILLUPS   CSR.      149
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                                                                  W. PIFAW.      MM
     Q             But you          will                          with                  that           know     more
1

                                               agree                              me             you

2
     about    psychology               than      somebody                        that    does      not      have    a
3
     degree

4
     A             I    dont           know.


5
     Q             You       studied

6
     A             It    was       1985       whenI                 graduated.

 7
     Q             Have       you       ever     worked                   in that         field

 8   A             No.


 9   Q             You       work out           at      the              college

10   A             I    work       out     at     the             college               and currently           I   am


11   director     of    a truck         driving program so                               its very business

12   administrative           type.




--18
13   Q             Did        you        use         directly                       or    indirectly            your

14   training.in psychology                     doing your                         job

15                                 Thats probably                                not    a fair    question          we

16   all    practice     a    little           psychology.

17   A             You       know         that         degree                   doesnt give            me   any


     any    license     to exercise anykind                                       of.psychology.         work.       I



19
     am     you   know       not       a licensed                   counselor..


20                                 I    guess          I        feel             the    word     training           is


21   not     appropriate_I               have        the            education             in psychology              a


22   degree.




me---24
23   Q             Let


24   A             And        yes         I     have              probably               ..you    know      I   have


25   been     exposed    to    more than                    the           average        person.




                                               LLOYD   E.   BILLUPS       CSR 149                                   85
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                                                       W.   PIFAV   Wf.   TOM
     Q              And           expert                is        someone            who possesses               special
 1




 2
     knowledge      in a field                    that       we consider                 to be a specialized

 3
     area

 4
     A              Yes.                And       the    experience.




 --9
 5
     Q              I        know          that        you        are not            licensed          to practice

 6   its    the fact              that       you had those courses                               and training        and




--
 7   there    are       things               that       you           know          about        psychology         that


 8   people   who       dont                have       that         degree

     A              Yes.


10   Q                            dont know




--13
11   A              Yes.


12   Q              So            you




--16
     A              But            I       wont consider                      myself an               expert     anyway.


14   Q              You            are       more        of        an       expert         than        somebody     that


15   hadnt had              it.            Im     not       saying


     A              Might be more                           knowledge                but     I    am


17   Q              Here               I     am    trying              to         make   you      an     expert      you


18   dont want to                  be       one

19   A                  I    know.


20   Q              And            Im         not       implying that                      you        have   a   license


21   to    practice           or           that    you            practiced              I       am    simply     saying


22   that you-possess special                                     knowledge.


23   A                  Yes.               And     I    just            dont want                 --    simply     dont

24   want to     over-represent                         myself.


25   Q                  Im             not    trying to                 get        you to.



                                                                                                                       86
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                                                         76TH     WScV4.D     cf

                                                             W. RL.Wi.      TOM
                                                Would                                                                        field       and
 1

                                                                your            knowledge                of       the

2
     the     effect           of            your            degree                     would           you          be       measuring

 3
     testimony        from a psychiatrist based                                                   on    your knowledge                       or

 4
     would            --            mean if                    he       said that he administered                                        such
              you              I



 5
     and such       tests.             and .based on                            such            and such           a theory.             you

 6
     know     this        is       his           opinion of                         whatever             if        you       disagreed

 7   with    him     about                 it        its         a      field               that       you        know       about       you.


 8   have     some       expertise                        in           you          have         the     knowledge                 of     the

 9   tests          you            remember                      studying                       the      tests                can         you

10   categorically                 reject                 his testimony because                                     his theory               of


11   psychology           differed                       from          yours

12   A                As       with                  any        evidence                    that       was        presented               any

13   opinion         I        would                  have         to          consider                 their         professional

14   judgment         in           that                  and         specifically                        in         the           area       of


                               have                       --     like                  said
15
     psychology           I                          I                          I                  I    graduated                 10   years

16
     ago.       I    have              not               been          in        the            field         I     probably              can.


17   remember maybe                    two tests that may be used and                                                    I   certainly

18   dont      know           how           to           interpret                     them       if         you.    know              no.    I


19   could    hot         but          I        feel       that              there is a broader .implicati.o


20   here     rather          than               just           my       college                 degree           and        you       know

21   he     could be talking                             about           very           little          of    what           --    I   dont.


22   know      but       he    could be talking                                        about           you    know            forensics


23   or something                  I       certainly                    dont know anything                               about that.


24                                               I       certainly                     would           have         to       take        into


25   account.what                  they              are        saying                 what        their proof                    is     what




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--2
1        their


         Q                    Let       me   see     if     I    can           narrow         you        down    with       some


                                                     would                         --              would        consider       a
3        of       my questions               you                         not               you

4        witness          such          as    a    psychiatrist                            you     would        weigh        his


5        credibility-as.you                       would         any        other type                of    witness


6        A                    Yes.


7        Q                    You would            not      --      Im          not        saying that you would


         have        to                   with     him          opinion                 or    you        would        have    to
8                          agree


    9    accept           his       opinion               Im             saying            that          you    would        not


10
         automatically                   reject      his opinion                        because            Well        I    know


         as much          about         that as he does                        and      hes wrong you wont
11




         substitute                your      knowledge             of       psychology               for       his
12




13
         A                     No.


                               Do             have                 prejudice                  against opinions                 of
14       Q                           you                  any


         psychiatrists                       That         is     do        you          believe           that     they      can
15




         express opinions                     that        would           go       to the ultimate                    issue of
16




    17
             Issue        1        and       Issue         2             the         possibility                 of     future


    18
         violence

         A                     Pardon             We      are.      talking                about         Special       Issues
    19



             Q                 Yes..         A .possibilit                      of      future           violence.
    20


                                                          not      asking                                predispose           the
    21                                        _Im                                       you        to.



             answer           in    .psycholog              testimony                      something             an    opinion
    22



             expressed             is     that     something                   that          you    would        not       reject
    23


             as    evidence
    24


             A                  Yes.          I   would         not.       reject            it.         Thats        right.
    25




                                                                                                                                88
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1
    1




                1.                                  I would.          consider psychological testimony

                2
                     as    evidence.

                3
                     Q               Would         the    same            be       true                    as   to Issue          2
                 4
                     A                  Yes.


                 5
                     Q                  There is a list                     in front                        of    you.   that     is    at    the

                 6
                     top    it     has       Witness            List                      its                   about    a    three          page

                 7   document.


                 8   A                  Indicating

                 9   Q                  Yes.


                10   A                  Okay.


                11   Q                  Will you.go                 over          that                 and        what   I   want       you    to


                12   identify           to    do   is    to     identify                         for            me any name        that       you

                13   know    and    are        familiar with                        and                especially            if    you       just


                14   know    the     person         but        if      you            have                  just    heard         of   .the     I



                15   would       like    to    know      it.



                16   A                  There      is    some handwritten                                       names.       Indicating

                17   Q                  Yes.       Those        are           to       be             considered              too.


                18   A              .        dont know               anyone.


            1
                10                      You do not know anyone                                              Not    any   name that           jogs


                20   your memory

                21   A                  Like       the     only              thing                     would        be       maybe      Billy

                22   Dodd         did he run for                    some          --maybe County Commissioner

                23   or    something


                24                                  I     saw         a      sign                      I    dont know             why    but    I



                25   dont        know.




                                                                    LLOYD   E.    BILLUPS    CSR 149                                           89
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                                                                            Mi.   RE IJ   T.TD        A5
          Q                 Whether            he ran       for County                            Commissioner or             not
     1




     2
          A.                I    live        over      on      the               Harts            Bluff     Road       theres

     3
          a    lot    of   signs       out.

     4
          Q                 You       live      on    Harts                  Bluff

     5
          A                 I    have.no         idea who                        they         are.


     6.   Q                 Thats          fine.


     7
                                           You        checked                       that          you     have    not        heard


     8    anything         about       the      facts         giving                        rise    to    the    case.


     9.                                    That was a couple                                  of    weeks    ago have you

    10    heard       anything         since

    11    A                 I     heard        that        the           man lived                  in    Cason        he    was   a


    12    70    year old man that                    lived                   in Cason.


    13    Q                 You work            at    the           college                       the    college       is    close


    14    to    Cason

    15    A                 Yes.


    16     Q                    Did    you     come.by                   this               knowledge       by    newspaper

1

    17     hearsay         what        someone         else                  said

    .1     A                    Yes.      It          it    may have been here while we were

    19    waiting          to    yq iii        but    I     was               --        I     was    out    --    I    left    the


    20     college         for    about         six months                          and       I    left     in   June        early


    21     June      of    last       year      and        returned                         in November          and     I   dont

    22     take      the    paper.


    23     Q                    Let    me --     anything                        that.        you have       heard       and you


    24     answered         that you had not                            heard                anything       at   the     time of


    25     the       questionnaire



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                                                              MT.       RFASAIA.    TIXAS
        A              Yes           sir.
1




2
        Q              Anything             that     you              have heard             since    or even     if

 3
        you   now    recall          that    you     did hear                       something

 4
        A              Yes.


 5
        Q                 Have       you formed any opinion as to innocence                                       or


        guilt
 6




 7      A                 No.




--10
 8      Q                 Have you formed any opinion as to the existence

 9      of    a particular            fact


        A                 No.


11      Q                 --       about    this     particular offense


12      A                 No.


13      Q                 Im         sure    you        notice                 on     that    list      there    are

14
        people      who        are    listed as             law              enforcement         officers        for


15      instance          Billy        Dodd       Game Warden                         Ricky      Blackburn       the


16      Sheriff      of        Morris       County              Texas

17      A                 Okay.


18      Q                  Can you consider                           I      mean do you consider              peace.


19...   of icers      to be          generally            credible.people


20      A                  Generally          I   suppose.


21      Q
                -



                           Over      anon-peace                   officer                 Does    the   fact    that


22      someone       is       a    law     enforcement                      officer         give them     a    head


23      start       in being         credible           with              yoii


24      A                  No.


25      Q                  I    mean      that     is     a           fact          you would        consider     it


                                                  LLOYD   E.    BILLUPS.     CSR.   149                            91
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                                                          Mf.   RFAUM.IDNS
         you   would    view    their credibility                                    as    any   other witness

    2
         A              Pardon          I     would            view                  their       credibility
.
    3
         Q              Yes.


    4
         A              What          Im     sorry.               Repeat                   the   question.

    5
         Q              So     far     you     must             be              required           to     start              all

    6    witnesses      even.


     7   A              Yes.


    8    Q              Now      I     mean     when                   well                 an    imaginary              race

     9   between     witnesses          you    have              a     peace               officer        and      just a

    10   plain      ordinary        person         at           that                 point       does     the           peace

    11   officer     have     more     credibility                     with               you    before     you          hear


    12   his   testimony

    13   A              No.


    14   Q              Your     complaints                    about                  the       criminal        justice

    15   system are      Too many appeals allowed and too many chances

    16   for   repeat    offenders.


    17                                                       THE           COURT                 One    minute.


    18                                                       MR.           OLD               Anything           in       that.


    19   opinion that         you     think would                     4o        to the           detriment          of       the

    20   defendant      in the        trial    of          a    case

    21                                                         THE         POTENTIAL                   JUROR            If    it


    22   was their third offense               or fourth                             offense       fifth       offense..


    23   Q               BY     MR.    OLD         You            mean                by    an    offense          --    what


    24   is    an      offense               are       you                 talking                about        a        prior


    25   conviction



                                              LLOYD   E.    BILLUPS     CSR 149                                               92
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                                                                  I
                                                                            I   CT
                                                      Mr.   RFA   W.   TEXAS
     A               Prior convictions.
 I




 2
                     Would       the type              of crime that                            they had committed

 3
     go   to   the   weight           how you              felt            about               supposedly       a    second

 4
     chance

 5
     A               No.

 6
     Q               It        wouldnt make                      any           difference            what       they       are

 7
     convicted       for

 8   A               No.


 9   Q               It        wouldnt            have           to        be         a    serious        crime

10   A               Wouldnt               have        to        be        a     serious           crime.           No.


11   Q               Do         you             know          the                difference               between           a
12   misdemeanor               and    a    felony
13   A               No.


14
     Q               You        know       there is                 a      difference

15   A               Yes.


16   Q               Misdemeanor                  basically                       is           punished    by       time    in


17
     jail      up   to    one    year            and   a         felony                   is    punishable          by more

18   time in the State                    penitentiary..


19   A                   Okay

.2   Q                   Would       that make                any          difference                to    you

21   A                   Whether          it-    was      a       felony                  or misdemeanor             crime

22   Q                   Yes.


23   A                   No.


24   Q                   Would       it         make      any           difference                  whether          or    not


25   they were           actually           convicted                   of        it


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                                                           MT.   REASMA.    MM
                                                                                                                          1   1   1




 1
         A               Yes.


 2
         Q               Okay.          I        mean        lets               say         you    heard       somebody

 3
         committed a prior act which                               is      in fact           is    a crime but      was

 4       not    convicted            not         charged           with          it

     5   A                   I    cant use           that          against them.

..       Q               You        cant

     7                                      It    would         only           be      --    would       perhaps    the


     8   age    and     circumstances                 of           the        person          when       the    offense


     9   occurred       have        something            to do with                   the    way that you would


 10      give    it

 11      A                   On repeat             offenses


 12      Q                   Is    that      a     question             or       an     answer




 --17
 13      A                   Its     a question.                   Are we talking                    still      talking


 14      about        repeat       offenses

 15      Q.                  Yes.       Lets         say           you       are       trying        a   man and    you

 16      become        aware       that          perhaps        as      a      juvenile

         A                   Yes.


                                   he had committed                      --      a juvenile. cannot              commit


 19      a    crime     .i        law       I.    mean     they             are        not        punished      in most


 20      cases         there are exceptions                           to       that.


 21
         A        -

                             Yes.


 22      Q                   But     would           a     juvenile                    incident-           would    you


 23
         consider            that       you         know            in         repeat             offenses       repeat


 24
         offenses


 25
         A                   Yes.




                                                                                                                      94
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                                                              W. REASW.      TOrA.S
1
                                                                    MR.           OLD              Your      Honor          other

2
     than the matter that has been indicated                                                           to the Court that

3
     we wanted      to make           a       bill      on we                    have            nothing       else at this

4.   time.


5                                                                   THE COURT                       Maam         if    you will

 6
     step    down    I    will       have        some                further                     instructions          for    you

 7   in a    few    moments.


 8                                   You        will           be          out              of    here    shortly.


 9                                                                   THE          POTENTIAL               JUROR            Okay.


10                                                                   THE          BAILIFF.                Would       you    like


1t   to   take     your purse                 with     you

12
                                                                     THE          POTENTIAL               JUROR            Okay.


13




14                                    The            following                              occurred.          outside           the


15   presence       and        hearing          of      the              potential                     juror

16




17                                                                   THE              COURT              Let     the       record


18   reflect       the     juror is .no                   present

19                                   Mr.        Old you                          said you               wanted        to   make.    A

20   bill    on     the    area           I    would                not           let            you    go   back      into         I



21   would-not           let    you       go     back               into              her         view    on    death       as     it


22   might effect              her    answer.


23                                    Can       you           give               me          any       specific        question


24   you     wish    to        ask        her        at         this. time                         that      you      have       not


25   covered



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                                                              W.     RFASAM1DtAS
1
                                      Im         really not                        sure        how you          are       going


          to make       a bill      without          asking her the question                                    so    if     you
2.




3
          can     demonstrate        to    me questions                           that         you have         not       asked


4         her     in    that       area     that          you          think                are      relevant          I     may

5         reconsider.


 6                                                              MR.            OLD             What    I    want      to         ask


 7        her is       it    goes back      to her questionnaire                                     statement which.


 8        she     has       been     questioned                about                   to      some       extent           which


    9     indicates          that.


10                                                                 THE             COURT               Where          are         we


1.1       again

12                                                                  MR.           OLD           The       questionnaire


13        on    Please        explain your                answer                   after          death      penalty.

14                                                                  THE        COURT              Okay.         I    am here.


 15                                                                 MR.           OLD           If    a    person          is     to


 16       be imprisoned             for the       remainder of his life                                    he       should be




    --22
    17    put     to death.


.1                                        And then            she              in        brackets           put      That         is


    19    not.really_the             point.           I    feel               a     person           should pay             for    a


    20     life    with       a   life.


    21                                    -And       then            after                the        selection             of.




           circled          the bottom      statement where                              she      answered           no      that


    23     she did not            agree    to    a    life            sentence                 rather than            a     death


     24    penalty would be appropriate under certain circumstances.


     25                                   Those       are              I      mean they               are    not      hedging




                                                     LLOYD    E.    BILLUPS       CSR.   149                                       96
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                                                             76TH   JUDK3 WRICT
                                                              MI.   RfASMR.    TD AE
1

      answers              she says. she could                not give           a      life   sentence           she

2
      told me in her testimony that they would influence                                                  --      one

3
      question             shetold me they would                         influence             her answer          to

4
      both       Special          Issue    1   and       Issue           2.-

 5
                                                              THE       COURT              She    never        said

 6
      that           Mr.    Old-.



 7.                                                           MR.      OLD          I    disagree with         you..


 8                                                            THE      COURT             Lets go back and

              believe       she     said it     --    lets.go                  back       --
 9    I                                                                                        Lloyd we           are


10    off       the    record.


11




12                                     Off      the      record                discussion.


13




14                                     Recess.

15




.1                                     The           following                   transpired             In         the.



17    presence             and hearing         of    the        potential                juror

18




19                                                            THE      COURT             Maam      let me jusa


20    for       your        own     information.                other           jurors         that     we        have


21    talked          to     have    not   been       as       inquisitive. as                   you    and your


22    questions             have caused         the      lawyers to take                       up.some       of    the


23    time       I    normally give. them to ask questions                                     so Mr.    Old has


 24   requested some additional                          time          to      go       into   something          that


 25       I   think    was     previously           covered            and      Im        going to give            him




                                                                                                                    97
                                                LLOYD    E.   BILWPS   CSR 149
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                                                        W.    PJAW4    MCAS
             that    time.
    1




    2
                                              But        normally we                          dont bring jurors back

    3
             and    forth like              this and            I     just wanted                        to   explain           that    to

    4
             you     and    tell        you        that        Im          sorry                   that       Im     sorry           were

    5
             taking        so    much       time with                 you        but              we.want          all        jurors to

    6        have     all        their        questions                    fully                  answered           and        Im     not

    7
             criticizing              you    for        asking               I   wish more jurors would                                ask


    8        because        if    you have something                             on your mind that you                               dont

        9.   get     explained          then        its             still             going to be                  aquestion.

    10                                                                     THE         POTENTIAL               JUROR             Yes.


    11                                                                     THE           COURT                 .S          I    am     not


    12       criticizing               you         Im         just           trying                 to    explain              why    its

    13       taken     so        long       but      theres                  still                one     area       he        needs    to

    14       cover.


    15                                                                      THE         POTENTIAL               JUROR            Okay.


    16                                                                      THE          COURT                 And       if     you    ask

    17
             anymore        questions               thats fine                           I        am not telling                you not

    18       to ask        a question              if     there             is        anything.

    19                           -.                                         THE          POTENTIAL                 JUROR              That


    20       would     be difficult.


    21                                        --                            THE               COURT                   If        theres

    22       anything            you    dont            understand                            we        dont       understand           we


    23       still     want           you    to tell            us-and                 it          is    our       job     to explain


.   24       it     and if        you walk              out     without                  knowing              we    are not          doing


        25   our     job.




                                                              LLOYD   E.   BILLUPS.    CSR.       149                                    96
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                                                                      W.   KEAMM      1DIAS
                                                                      THE POTENTIAL                         JUROR             Okay.

2
                                                                      THE       COURT                 Mr.        Old.


3                                                                     MR.       OLD             Ms.    Henry first                  you

4    have been an excellent                           prospective                             juror        in the       fact       that

5
     you    asked      questions              and.         have           answered                   questions               and    are

6    obviously working at answering these questions                                                                   correctly.

 7                                      What          I    would              like             to    ask        you     before       we.



 8   talk    about          --    when       .    say           we                  Mr.         Townsend                the    Court


 g   and    myself               murder           and            capital                      murder              murder             by


10
     definition              is         intentionally                               and             knowingly.               killing


     someone        the          range       of   punishment                          for murder is                     from five




--13
11




12   years probated

                                                                      THE       POTENTIAL                   JUROR             Yes.


14   Q                  BY        MR.    OLD CONTINUING                                   VOIR DIRE EXAMINATION

                                        --       to       life.
15




16                                      Again             a     murder                    is    or     can        be     a    lesser


     included          offense           that             is     a       --                                be    asked        in    the
17                                                                                  you        may


18   charge.     Is.the.. person                  on trial                      guilty              of..   capital           murder

19
     if    you do not            find..so         beyond                 a reasonable                       doubt       you shall


20   find    him not guilty of capital                                          murder                     then    it    may come


21
     back    -


                 and        say--A                person                      commits                 murder             when        he


22   intentionally or knowingly takes                                                the        life        of    another and


23   you will          be    asked       if       he       is         guilty of that                            or not       guilty.


     A                  Yes.
24



     Q                  The       lesser          included                      offense.
25




                                                                                                                                      99
                                                      LLOYD     E.    BILLUPS   CSR 149
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1
                                    In       your                questionnaire                          and       in    your

2
     testimony       you       indicated                    your                  feelings             about       capital

3
     punishment       and      in     doing so                   indicated                  your        feeling        about

4
     life    sentences         and you have                        been               told by          His    Honor     that

5
     you shall consider                    life      as          meaning                   life

6    A               Yes.


 7   Q               Now         in         deliberating                              as    to        punishment            for


8    murder and not capital                      murder the lesser included                                        offense


 g   of     murder    are      your         opinions                    on        capital             murder       capital


10   punishment       and       your         opinions                        as      to    life        sentences            are


11
     those things          that          you      are        going to consider                               .i   reaching


12   punishment       on    a non-capital                             murder

     A               On    a    non-capital                       murder                  the    death        penalty        is




--15
13




14   not     an   option




--18
     Q               Thats           correct.


16   A               --    for       punishment

17   Q               Yes.           Okay.           You may


     A               So     my       feelings. about                              that          are.    voided         by    the


19   fact     that   there          is      not that                  option               to exercise.


                     Let       me     --
20   Q                                       I    may not                    be       communicating.


21
              -




                                    _._In    your questionnaire.                                      and    Im    quoting


22   from it.


23   A               Yes.


24   Q               The remainder                         of         his            life        if    a    person      is    to


25   be in prison           for       the        remainder of                             his    life       he    should      be




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                                                            E.   BILLUPS

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                                                           W.    RFASAM.     TD A$
fr   n




         1
               put    to    death

         2     A                  Yes.




          --9
         3
               Q                  And    then you made the                                statement            at the    bottom

         4     of    the     page      that        you        agree          that           a    life        sentence    rather

         5     than        the    death      penalty             would               be         appropriate           under     the

         .     proper        circumstances.

          7                                     Those           two          statements                 together        tell     me

          8    that you          have     a prejudice                  against                  life     being used

               A                  Yes.


         10    Q                  --    as     a   punishment

         11    A                  Yes.         Yes.


         12    Q                  That         life           equals              life           then        that     the      more


         13    appropriate             punishment               is         death

         14    A                  Yes.


         15    Q                  Would        those opinions                           effect        you in deliberating

         16    in that           range    of       punishment                  between                five    years     probated


         17    and     life

         1g                                        I..m       not      saying               that        it    would     make    you

         19    go     either .wa          but       it        would          make           you       favor    the lower        end


         20    or     --    Im     not    asking.you                   to       favor            either       end.




          --25
         21
               A                   Yeah.            Im         not          sure            what       my     exact     response


         22    would        be    but.yeah                I    think            it       causes         some    concern        with


         23    me.


          24   Q                    Just going --                   your           opinion             about     life


               A                    Right.




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--2
--3
1
      Q

      A


      Q
                           --


                           How
                                 is     going to effect




                           -- your deliberating                         on sentencing              in a regular


4
      or    a    non-capital             murder    case

5     A                    Yes.


6                                                               MR.      OLD           We    would    pass     the


 7    witness..


 8                                                              THE      COURT              Mr.   Townsend      do


 9    you       have      any    questions

10
                                                                MR.      TOWNSEND                 Just briefly


11
      Your.Honor.


12




13                               REDIRECT       VOIR            DIRE      EXAMINATION


14                                          BY    MR.           TOWNSEND


15




16    Q                    Ms.     Henry        you        stated               when    I    was    talking     to


17    you        I   believe you stated                that           you in deciding                punishment


18    on a tmurder case                 knowing     that           the range of punishment                     was


19    between five                years    probation                  and 99       years to          life    that


20    you would base your punishment                                    decision on the different


21    facts          and    circumstances                and          events           of    that    particular


22    case           is    that    correct


23    A                     I    believe    I    said           that.            Yes.


 24                         Okay.        Is that      still             the way you feel               that you


 25   would          base       your.   decision         as       to      the     proper          punishment    on




                                                 LLOYD     E.   LLUPS CSR 149                                  102
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                                                         761H   10CM.   UM MM
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     1
               the --       on that          case       and    the evidence                    in that          case    and not

     2
               on    some    --    not        on    anything                 else           your       decision        is     going

     3
               to    be    based        on    the       evidence                in that            case       and that         case

     4         alone

     5         A                  Yes.


     6                                                                       MR.        TOWNSEND                 No      further


     7         questions           Your Honor.


     g                                                                       THE       COURT             Maam          you     also


     g         said       earlier that              if     you         heard            a    murder           case    and     again


Vl   10        you    realize when                 we    are     talking                we are not             talking        about


               Mr.    Wardlow             we       are     talking                 about           a   murder        case      or     a


     12        capital          murder        case

     13
                                                                             THE       POTENTIAL              JUROR         Yes.


     14   ..
                                                                             THE        COURT                  You     told          us


     15
               earlier if           I    remember correct                          that       if       you heard        a murder


     16        case       and     you        felt       like      based                on    the       evidence        that       the


     17        appropriate              punishment             would be probation you could give


               probation           and       you        felt     like            the         appropriate             punishment.
     18


               would.      -be    life       you    could         give             life..
     19



     20
                                                                             THE       POTENTIAL              JUROR         Yes.


     21
                                                                             THE        COURT             In    other       words


     22        you        told.   us     you        could        consider                    the       full     range       and      go


     23
               either        the        high    or the           low

     24
                                                                              THE       POTENTIAL             JUROR           Yes.


     25                                                                       THE      COURT            Is that       still     your




                                                               LLOYD    E.   BILLUPS   M.    149                                  103.
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      position
1




                                                                                            JUROR
2
                                                             THE       POTENTIAL                          Yes.


3.
                                                             THE       COURT           Thank       you maam.
4
                                     You may        step down.


                                     Hopefully this will                          be the last time but
5




6
      I    will    make       no   promises.

7
                                                             THE           POTENTIAL         JUROR         So     I


8     still       need       to hang      around

 9                                                           THE       COURT           I    need    to talk      to


10    the.lawyers             for a minute then                    I       need to send the Sheriff


11    back       to give       you    a   couple        of        instructions then you will


12    be    free        to   go.


13




14
                                      The         following                     occurred         outside      the


15    presence           and hearing         of    the           potential             juror

16




17                                                           THE           COURT            Does    the    State


18    have        any    challenges.

19                                                           MR            TOWNSEND                None     Your


20    Honor.


21                                   --                      THE           COURT           The   Defense

22                                                           MR.           OLD         Yes        Your    Honor.


23    The        Defense      would       challenge              the           juror   Lori Henry          first


24        that    in her voir dire examination                                  she made         the statement


 25       that     her       opinions       on     capital                      punishment          and    those




                                              LLOYD    E.    BILLUPS   CSR 149                                   104
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                                                      W. PLEAS.        TDtA3
1
      opinions        that       she       affirmed               from              her        questionnaire                  that

2     she     would       -     that       she     did            have             a     bias.       in     favor        of    the


3     death     penalty          as    a        punishment                     for         crime           as    opposed        to


4     life    and that in answering                        the           Special                Issue           1     and Issue


5     2      that    she would             --    that      the            opinions                  that         she    held    on


6     capital        punishment            would        effect                     her answers to                     those. two


7     issues        and   more to Issue              1             more to Issue                           2     than    Number


8     One     but    she       did    indicate             it        would                effect           her answer           to


g
      Number One.

                                       And       once        she          has            testified               to    that    she
10


      is     disqualified and                   should not                     rehabilitated.
11



                                       I        think             there                   was        testimony                that
12



      amounted        to       rehabilitation                     at      a        later            point.
13




14                                     Secondly              as          to         those           same         opinions       as


15
      to     her     belief       about          capital                 punishment                    perhaps           better


16
      stated that              her opinion              if         a person                    is    to.   be       imprisoned


17
      for     the    remainder of                his life                he         should be put to                     death..



18                                     That       she indicates                            .directl              that in the


19.   deliberating               in        a     non-capital                             murder            case         and     in


      assessing punishment                       that        that                  opinion           would          effect     her
20



      deliberating              and her sentencing.
21



                                                                  THP          COURT                In a        non-capital
22



23
                                                                  MR.          OLD             And in       a.   non-capital


      and      that       is    to    say.       that        she             cannot             consider               the    full
24



      range of punishment                       without that bias effecting -her bias
25




                                                                                                                                105
                                                   LLOYD     E.   BILLUPS.     csR.      149
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                                                           tia.   PLEA   AM.TDVAS
      or prejudice        effecting           her deliberations.
1




2
                                                            THE            COURT             Do    you      have        any

3     other challenges

4                                                           MR.            OLD              Thats all                  Your

5     Honor.


6                                                           THE            COURT            Mr.    Townsend              do


 7    you wish       to   respond

 8                                                          MR.             TOWNSEND                   As     to       this


 9    first        challenge      Your        Honor                    I       dont         believe          the       full


10
      record        indicates     that        she           has            a      bias      toward          the    death


11    penalty        as   to his      second          challenge                         I   dont believe                -her



12    testimony was            that     she     would                  use         any      such       bias       or    any


13
      such     previous        position        in      answering                        Special        Issue       1.

14                                I   think if                she has expressed an                            opinion


15
      and uses       that to Special              Issue                    2      that      is    precisely what


16    she     is    supposed     to   do.


17
                                  As far as Mr.                            Old     s    allegation             and      Im

18    not who he thinks           rehabilitated her testimony since                                                I    was


19.   not           did notquestion              her on                    that         area      of   the    law.            I




20    dont believe that               challenge.


21                                                          THE             COURT            -I    think          he    was


22    referringto          the    Courts rehabilitation.


23
                                                             MR.            TOWNSEND                               As     to


 24   Number         3     I    think       she        clearly                     testified            both.      in     my


 25   questioning         and     Mr.    Olds questioning                                    and       the     Courts



                                                                                                                         106
                                              LLOYD   E.    BILLUPS.       CSR.   149
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                                                      MT.   PJAS.   M. TDAS
    1
                 questioning          that    she    could           and        would          consider          the     full


    2
                 range     of   punishment          in a   non-capital                         case.
.

    3                                                                THE         COURT                 Im        going      to

    4            overrule       all    challenges          on        Ms.        Henry          and     I    do   find      her

    5            to   be   qualified.

    6                                         We    are    in            recess            until       930        tomorrow


    7            morning.


    8                                         Leo     tell           her she              is   free        to   go   she    is


    9
                 still     a prospective           juror we will                          notify       her      toward the


    10
                 end of     next      week.



    11




    12
                                              Record closed                      for October                26th     1994.


    13




    14                                        Whereupon                  Court was recessed                     until    930

    15           a.m       October      27th        1994.

    16




    17




    18       .

    19




    20.




    ---22
    21




    23



    24



        25




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                                                       LLOYD    E.   BILLUPS    CSR 149
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                                                               MT.   REPMM.    rows
1    STATE    OF TEXAS         S


2    COUNTY    OF TITUS


 3




 4                             I      Lloyd              E..       Billups            CSR     149      and

 5
     Official    Court        Reporter            in       and          for    the    76th     Judicial

 6   District        State     of    Texas               do       hereby         certify      that     the

 7
     above     and     foregoing           contains                      a    true      and     correct


 8
     transcription       of    the proceedings                          in the      above-styled       and

     numbered    cause        all    of    which                occurred         in   open     court    or
 9




10
     in chambers       on October         26            1994       and       were    reported by       me..


                               I          further                       certify         that          this
tt




     transcription       of    the   record              of       the proceedings             truly and
12




13
     correctly       reflects       the    exhibits                     if    any offered        by    the


14
     respective       parties.

                                                                                       sr
                               WITNESS            MY       HAND          this                   day     of
15



     January     1995.
16




17




18
     LLOYD B. BILLUPS  CSR 149    OFFIC     COURT                                        REPORTER
     .16T JUDICIAL DISTRICT  STATE OF TEXAS
19




20



21




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                                          LLOYD   E.    BILLUPS   CSR 149

                                               76THAMM COMM
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1
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2            Expiration Date    of   Certification                                 12/31/96


3            Business Address        Drawer     1868
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6



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    23                                                       5




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